Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 1 of 130




                 EXHIBIT B
          Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 2 of 130
                                                                                    2/9/2021 4:57 PM
                                                                                                    Velva L. Price
                                                                                                   District Clerk
                                                                                                   Travis County
                                 CAUSE NO. D-1-GN-20-006861                                     D-1-GN-20-006861
                                                                                                 Nancy Rodriguez
    JAMES BLAKE BRICKMAN,                          §               IN THE DISTRICT COURT OF
    DAVID MAXWELL,                                 §
    J. MARK PENLEY, and                            §
    RYAN M. VASSAR                                 §
    Plaintiffs,                                    §
                                                   §
    v.                                             §                   TRAVIS COUNTY, TEXAS
                                                   §
    OFFICE OF THE ATTORNEY GENERAL                 §
    OF THE STATE OF TEXAS                          §
                                                   §
                                                   §
    Defendant.                                     §                   250th JUDICIAL DISTRICT



PLAINTIFFS’ SECOND AMENDED ORIGINAL PETITION AND VERIFIED MOTION
      FOR TEMPORARY INJUNCTION AND PERMANENT INJUNCTION

         “The Texas Whistleblower Act protects public employees who make good faith
         reports of violations of law by their employer to an appropriate law enforcement
         authority. An employer may not suspend or terminate the employment of, or take
         other adverse personnel action against, a public employee who makes a report under
         the Act.” 1

         This correct statement of Texas law is taken directly from the Texas Attorney General’s

website and can be found there as of the date of this pleading. It is sadly ironic, then, that Attorney

General Warren Kenneth Paxton -- the Chief Law Enforcement Officer for the State of Texas --

has flagrantly violated and apparently believes he is above the very law he promotes on his own

website. Plaintiffs are dedicated, respected, public servants, officers of the court, and—until the

events that are the basis of this Whistleblower Suit transpired—honorably served in the most senior

levels of the Office of the Texas Attorney General (“OAG”).




1
 https://www.texasattorneygeneral.gov/sites/default/files/files/divisions/general-
oag/WhistleblowerPoster.pdf

                                                  1
        Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 3 of 130




       The Texas Legislature passed the Texas Whistleblower Act in 1983 to prevent the very

conduct by Attorney General Ken Paxton and OAG that forms the basis of this case. The most

senior members of the OAG believed in good faith that Paxton was breaking the law and abusing

his office to benefit himself as well as his close friend and campaign donor, Austin businessman

Nate Paul, and likely the woman with whom, according to media reports, Paxton has carried on a

lengthy extramarital affair. On September 30, 2020, the Plaintiffs, along with three other Executive

Deputies and the First Assistant Attorney General, reported the facts underlying Paxton’s and

OAG’s illegal conduct to the Federal Bureau of Investigation (“FBI”) and other law enforcement

authorities, as was their duty. The three Plaintiffs who attended that meeting made very clear that

they believed Paxton’s and OAG’s conduct were acts of criminal bribery, tampering with

government records, harassment, obstruction of justice, and abuse of office. Thus, they became

“whistleblowers” (collectively “Whistleblowers”). On October 1, they reported the fact of their

whistleblower report of the previous day to the OAG Human Resources Division and to Paxton.

       Paxton responded to the report immediately and with ferocity, as though he was trying

consciously to show Texans exactly what retaliation against whistleblowers looks like. Paxton

falsely smeared the whistleblowers publicly in the manner calculated to harm them most,

threatened them, tried to intimidate them, and engaged in all manner of retaliation ranging from

serious to petty to pathetic. Then, within about a month of learning of their whistleblowing, Paxton

and the OAG fired the Plaintiffs. Less than two months after they reported Paxton’s and OAG’s

wrongdoing, none of the Whistleblowers remains employed at the OAG. It is hard to imagine more

flagrant violations of the Texas Whistleblower Act.

       At the crux of this case are Texas’ core and necessary government policies of transparency,

honesty, and integrity—as opposed to corruption and favoritism—within the State’s highest law



                                                 2
        Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 4 of 130




enforcement office and instruments. Plaintiffs hope that this lawsuit following upon their direct,

good-faith complaints to the FBI and other law enforcement authorities will help to restore

integrity to this exceedingly important office.

       Plaintiffs James Blake Brickman, David Maxwell, J. Mark Penley, and Ryan M. Vassar

file this Second Amended Original Petition against the OAG. Plaintiffs respectfully show the Court

the following:

                                              I. Parties

      1.         Until they were fired and otherwise retaliated against by the OAG at the instruction

of Ken Paxton shortly after reporting to law enforcement their concerns about Paxton’s and OAG’s

criminal conduct, the four Plaintiffs were among Paxton’s most senior staff, each of them hand-

picked by Paxton himself, and each of whom directly interacted with Paxton on a frequent basis.

      2.         Plaintiff James Blake Brickman (“Brickman”) was the Deputy Attorney General

for Policy & Strategy Initiatives from February 2020 until he was wrongfully terminated October

20, 2020. Brickman is a lawyer and veteran public servant. Prior to being recruited to the OAG by

Paxton, Brickman served as the Chief of Staff for the Governor of Kentucky, a Republican, for

four years. Earlier in his career, he also served as Chief of Staff to a United States Senator, a

Republican, in Washington, D.C., attorney in private practice, and as a federal law clerk to the

Honorable Amul R. Thapar (now a sitting judge on the Court of Appeals for the Sixth Circuit).

Before Brickman made a good faith report to an appropriate law enforcement authority of criminal

wrongdoing by Paxton, Paxton regularly and publicly lauded Brickman’s work. Just by way of

example, in May, Paxton publicly praised Mr. Brickman’s work in the monthly meeting of senior

OAG staff. Paxton presented Brickman with a book on which Paxton inscribed a note saying he

was “so grateful [Brickman] joined our team.” Paxton praised Brickman as an “amazing addition”



                                                  3
        Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 5 of 130




to the AG’s office. Brickman relocated to Austin, with his wife and three young children, to take

his job at OAG at Paxton’s request and is a resident of Travis County, Texas.

      3.       Plaintiff David Maxwell (“Maxwell”) is and has been a law enforcement

professional. Until he was wrongfully terminated on November 2, 2020, Maxwell served as the

Deputy Director, and then the Director, of Law Enforcement Division for the OAG for

approximately 10 years, collectively, where he oversaw 350 employees. Maxwell’s storied 48-

year career in law enforcement in the State of Texas includes over 38 years with the Texas

Department of Public Safety – 24 years as a Texas Ranger. Maxwell has been involved in

investigating some of the most serious criminal matters and conduct in this State for decades and

has a well-earned reputation as an honest, thorough, and tough law enforcement investigator.

Maxwell is a resident of Burnet County, Texas.

      4.       Plaintiff J. Mark Penley (“Penley”) was the Deputy Attorney General for Criminal

Justice at the OAG from October 8, 2019 until November 2, 2020, when he was wrongfully

terminated. He supervised the Criminal Prosecutions, Special Prosecutions, Criminal Appeals, and

Crime Victims Services Divisions which were comprised of approximately 220 employees. Penley

has 36 years of legal experience and is a retired federal prosecutor. Penley is a resident of Dallas

County, Texas.

      5.       Plaintiff Ryan M. Vassar (“Vassar”) was the Deputy Attorney General for Legal

Counsel at the OAG. In that role, until he was retaliated against and wrongfully terminated, Vassar

served as the chief legal officer for the OAG. He represented the OAG before other state and

federal governmental bodies and oversaw 60 attorneys and 30 professional staff across 5 different

divisions, which are responsible for rendering approximately 50,000 legal decisions each year.

Vassar served in different roles at the OAG for over 5 years. Before joining the OAG, Vassar



                                                 4
        Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 6 of 130




served as a law clerk for three years at the Supreme Court of Texas. Vassar is a resident of Travis

County, Texas.

      6.       As described in the paragraphs immediately above, all four Plaintiffs were, at all

relevant times, employees of the OAG.

      7.       Defendant Office of the Attorney General of the State of Texas (“OAG”) is an

agency of the State of Texas in the executive branch of state government created by statute. See

Tex. Const. art. IV, §22 and Tex. Govt. Code §402.001, et. seq. OAG is a proper defendant in a

claim under the Texas Whistleblower Act. OAG was served with process on or about November

20, 2020 and has filed an answer in this case.

      8.       At all times relevant to this action, Ken Paxton has been an employee of OAG. The

OAG’s own employment records identify Ken Paxton as an employee of OAG. For example,

Exhibit 1 to this pleading is a true and correct copy of public records and business records from

Ken Paxton’s employee file at OAG. OAG’s employment records show that Ken Paxton’s “Date

of Employment” with OAG was January 5, 2015. Ken Paxton has been an employee of OAG since

January 5, 2015 and remains so to this day. The OAG employee records identify the “Employee

Being Replaced” by Ken Paxton in 2015 as Greg Abbott, who was the Attorney General prior to

Ken Paxton. The OAG employee records catalog Ken Paxton’s “Employee Information.” OAG

employee records list Ken Paxton’s Position Number. OAG employment records designate Ken

Paxton as an exempt employee under the Fair Labor Standards Act, a law that only applies to

employees and exempts certain employees. Thus, OAG’s own HR department deems Paxton an

employee, but an employee who is exempt from the overtime and minimum wage provisions of

the FLSA.




                                                 5
        Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 7 of 130




      9.       From at least September 1, 2015 to the present Ken Paxton’s full-time job has been

as Attorney General of the State of Texas. At all times from at least September 1, 2015 to the

present Ken Paxton has been paid a salary of at least $153,750 per year by OAG for his full-time,

40-hour per week employment at OAG. Throughout that same time period, Ken Paxton has been

listed in the employment records of OAG as an employee, has an OAG-designated “pay group”

and “Job Class Title” in the employment records of OAG, and has been eligible for and has

received employment benefits including health care benefits offered only to employees of OAG.

When Ken Paxton receives a salary increase for his job at OAG, his salary increase is recorded,

like it is for other employees, in a “Personnel Action Form.”

      10.      Since January 5, 2015 and up to the present day, Ken Paxton has been contributing

to and accruing employment-based service credit under an employee pension plan administered

by the Employees Retirement System of Texas. The Employees Retirement System of Texas states

that its purpose is to “manage[] a defined benefit retirement plan for State of Texas employees.”

      11.      At all times relevant to this action, Ken Paxton has been the leading executive

employee of the OAG and has been responsible for directing and conducting the affairs of OAG.

Ken Paxton’s actions, when taken in his official capacity as Attorney General, are the actions of

the agency itself.

      12.      That Ken Paxton is an OAG employee is further borne out by how OAG treats

individuals who work at OAG in a non-employee capacity. When OAG compensates a person or

a company on a non-employee basis, it expressly identifies them as a non-employee in OAG

records. For example, Exhibit 2 to this pleading is a contract OAG claims it entered into with a

lawyer named Brandon Cammack with the Cammack Law Firm PLLC. In that contract, OAG took

care to specify that Cammack and the Cammack Law Firm were “independent contractors of



                                                6
        Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 8 of 130




[OAG] and are not employees of Agency or the State of Texas.” OAG has never entered into any

agreement with Ken Paxton specifying that he is not an employee of the State of Texas.

            II. Jurisdiction, Venue, Rule 47 Disclosure, and Discovery Control Plan

      13.       This Court has jurisdiction because the amount in controversy exceeds the

minimum jurisdictional limit of this Court. In addition, the Texas Whistleblower Act waives any

immunity that might otherwise deprive this Court of jurisdiction. TEX. GOV’T CODE §554.0035

(“A public employee who alleges a violation of this chapter may sue the employing state or local

governmental entity for the relief provided by this chapter. Sovereign immunity is waived and

abolished to the extent of liability for the relief allowed under this chapter for a violation of this

chapter.”). Furthermore, each of the Plaintiffs exhausted any administrative remedies having

participated in formal complaint procedures within the OAG with such procedures concluding

without resolution.

            14. Venue is proper in Travis County because the Texas Whistleblower Act provides

that a public employee of a state governmental entity may sue in a district court of the county in

which the cause of action arises or in a district court of Travis County. TEX. GOV’T CODE

§554.007(a). This cause of action arises in Travis County, Texas as all Plaintiffs were employed

in Travis County, and worked at OAG offices near the Capitol Building in Austin, Texas in Travis

County, were fired or constructively terminated in Travis County, and were subject to acts of

retaliation in Travis County. Venue is also proper under §15.002 TEX. CIV. PRAC. & REM. CODE

because all or a substantial part of the events or omissions giving rise to this claim occurred in

Travis County, Texas.

            15. Pursuant to TEX. R. CIV. P. 47(c)(4), Plaintiffs seek monetary relief of over

$1,000,000.



                                                  7
        Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 9 of 130




            16. Plaintiffs intend for discovery to be conducted in accordance with a discovery control

plan under TEX. R. CIV. P. 190.4 (Level 3).

                                              III. Facts

                            Ken Paxton’s Donor and Friend, Nate Paul

      17.        On August 14, 2019, FBI agents executed a search warrant at the home of Austin

real-estate investor Nate Paul. That same day, agents executed search warrants at two separate

office locations of Nate Paul’s real estate business, World Class Holdings. A long-serving and

highly respected United States Magistrate Judge issued those warrants on August 12. A fourth

search warrant was executed a few days later at a records storage unit rented by Paul’s company.

      18.        Paul has had many well-documented troubles in 2019, 2020, and 2021 in addition

to the execution of search warrants at his home and offices by federal law enforcement. Paul is an

Austin businessman who invests in real estate through his company, World Class Holdings, and

through single-purpose limited liability companies controlled by Paul and/or World Class

Holdings. In 2019 and 2020, according to media reports, at least 16 Paul-controlled entities have

filed for bankruptcy protection, and lenders have initiated foreclosure proceedings on over $250

million in delinquent debt held by over two dozen of Paul’s companies.

      19.        Also in 2020, Paul created a company for the purpose of suing a local charity, the

charity’s lawyer, and a court-appointed receiver. The district judge presiding over the case

dismissed the case shortly after the suit was filed, ruled that the suit was groundless and filed in

bad faith for the purpose of harassment, and sanctioned Paul’s company and his lawyer over

$225,000 for the frivolous and malicious use of the justice system.

      20.        Mr. Paul also spent time in 2020 making requests—both formally and informally—

that the Travis County District Attorney and the Office of the Attorney General of the State of



                                                   8
       Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 10 of 130




Texas launch criminal investigations of Mr. Paul’s perceived adversaries. By way of example, Mr.

Paul made formal written requests for criminal investigations of:

            a. The federal magistrate judge who issued the search warrants authorizing the search
               of Paul’s offices and home;

            b. The FBI agents and state law enforcement agents who carried out the searches;

            c. The Assistant United States Attorney who had obtained the search warrants from
               the federal magistrate judge;

            d. A federal bankruptcy judge;

            e. A local charity that was a co-investor with Paul-controlled entities in two
               properties;

            f. The local charity’s lawyer;

            g. A credit union that held a lien on one of Paul’s entities’ properties; and

            h. The receiver appointed by the Travis County Court to take control of certain
               properties pending resolution of the lawsuit between the charity and Paul-controlled
               entities.

      21.      Despite a very busy 2019 and 2020, Mr. Paul, age 33, also found time to enjoy his

personal friendship with the Attorney General of the State of Texas, Ken Paxton, age 57.

      22.      The origins and full dimensions of the relationship between Mr. Paul and Mr.

Paxton are net yet known. But what is known paints a picture of personal, reputational, and

financial ties to Mr. Paul that almost certainly explain why Paxton, acting in the scope of his

official duties, abused his office and brought the power, resources, and personnel of OAG to bear

in outlandish ways to personally benefit Mr. Paul and to benefit Paxton himself.

      23.      It is known, for example, that in 2020, Paxton and Paul met regularly in Austin,

Texas, in meetings usually without Paxton’s staff or security detail present, and in meetings that

were not included on Paxton’s official schedule. It is also known that Nate Paul repeatedly refuses

to answer questions in civil litigation he is involved in about the nature of his relationship with the

Attorney General.
                                                  9
       Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 11 of 130




      24.      Nate Paul is also a major donor to Paxton’s campaign.

      25.      On or about October 29, 2018, Paul made a $25,000 contribution to Paxton’s

political campaign committee. It has also been publicly reported that the political action committee

of a law firm representing Nate Paul’s interests in litigation between Nate Paul-related entities and

the Mitte Foundation made a $25,000 contribution to Paxton’s campaign on or about June 30,

2020, which was 22 days after the OAG intervened in the litigation to advantage Paul personally.

      26.      Ken Paxton also has personal and financial ties to Nate Paul through an individual

with whom Ken Paxton carried on an extramarital affair and who now works for Nate Paul on Ken

Paxton’s recommendation. In late 2019 or 2020, Paxton admitted to several OAG staffers that he

had been involved in an extramarital affair with an individual whose name Plaintiffs do not include

in this pleading. This individual is a former staffer of a Texas state senator – a different state

senator than Mr. Paxton’s wife who serves in the Texas Senate. At the time Plaintiffs went to law

enforcement to report a wide array of criminal conduct by Ken Paxton and OAG, Plaintiffs

suspected a connection between Ken Paxton’s affair with this individual and Nate Paul. Nate Paul

has subsequently admitted that the individual with whom Paxton carried on the affair was

recommended to Nate Paul for a job, and that she was then hired to work for a Nate Paul entity.

Nate Paul did not know the individual prior to her being recommended to Nate Paul for a job with

one of Nate Paul’s companies. Notably, the individual’s LinkedIn profile conceals her work for a

Nate Paul-controlled company, further evidence of its illicit nature.

      27.      On information and belief, that individual still works for one of Nate Paul’s

companies as a construction project manager even though that individual has no prior experience

in the construction industry, much less managing construction projects.




                                                 10
       Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 12 of 130




      28.      Also on information and belief, Nate Paul and Ken Paxton have a relationship

related to the renovation construction of a home Paxton was renovating in Austin. In 2018, Ken

Paxton bought a home valued at approximately $1 million in the Tarrytown neighborhood of

central Austin, although permitting records in Travis County could not be located. In 2020, Ken

Paxton was undergoing a major remodeling project on the home. In mid-2020, some of the

Plaintiffs received information suggesting that Nate Paul, either personally or through a

construction company he owns and controls, was involved in the project.

                 Paxton Abused the Office of the Texas Attorney General to
                           Personally Benefit Paul and Himself

      29.      Over the course of 2019 and 2020, Ken Paxton used and abused his office by

causing the full weight of the office that he commands, deploying employees and resources of

OAG spanning multiple functions and departments, to improperly interfere in the civil disputes

and criminal matters of his donor, friend and personal benefactor Nate Paul. Plaintiffs reasonably

believed that Paxton and OAG engaged in these acts not only to benefit Paul, but to benefit Paxton

personally because of the financial, reputational and personal relationships between Paul and

Paxton, relationships Paul and Paxton work hard to conceal.

      30.      As described in greater detail below, the criminal actions about which Plaintiffs

complained to law enforcement were the actions of the OAG, Paxton as the top employee of OAG,

and the actions of other OAG employees whom Paxton enlisted to participate, in most cases

apparently unwittingly. Some of Paxton’s actions directing the OAG to benefit Paul were criminal

without regard to motive. Others were so egregious and so contrary to appropriate use of his office,

that they could only have been prompted by illicit motives such as a desire to repay debts, pay

hush money, or reciprocate favors extended by Paul.




                                                11
        Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 13 of 130




      31.      During the Spring and Summer of 2020, Paxton began taking more interest in legal

matters involving Nate Paul and applying more pressure on the Plaintiffs and the other

Whistleblowers to use the personnel, legal authority and other resources of the OAG to advance

the legal and personal interests of Nate Paul and his business activities. Paxton showed a pattern

of not listening to the Whistleblowers, including Plaintiffs, when they raised valid objections to

his instructions regarding Nate Paul’s legal matters that were brought before the OAG. Plaintiffs,

along with the other Whistleblowers, became increasingly concerned over time as the Attorney

General became less rational in his decision making and more unwilling to listen to reasonable

objections to his instructions, and placed increasing, unusual priority on matters involving Paul.

      32.      Paxton’s abuse of the OAG to benefit Paul began in or around November 2019. But

as 2020 progressed, Paxton’s efforts on Paul’s behalf became increasingly reckless, bold, and

apparent to Plaintiffs.

            Paxton Intervened to Benefit Nate Paul in Nate Paul’s Open Record Requests

      33.      A state agency that receives a request for records under the Texas Public

Information Act and wishes to withhold documents responsive to that request based on statutory

exceptions must request a ruling from the OAG as to whether the asserted exceptions are

applicable. The OAG issues approximately 30,000 to 40,000 open records decisions each year, but

Plaintiffs are only aware of Paxton taking a personal interest in decisions that related to Paul.

      34.      In the Fall of 2019, lawyers for Paul issued an open records request to the Texas

State Securities Board for records related to the August 2019 search of Paul’s properties by the

FBI and other federal and state law enforcement officials. In effect, Paul was seeking to gain

information about the federal investigation into his own conduct. The State Securities Board

requested an open records decision from the OAG as to whether it was required to produce records



                                                 12
       Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 14 of 130




relating to this ongoing investigation. Paxton put pressure on Whistleblower Ryan Bangert to issue

an opinion that would have allowed for the records Paul sought to be released to Paul – a highly

unusual move that was contrary to well-established precedent related to protecting the integrity of

criminal investigations. Despite this pressure from Paxton to issue a highly irregular ruling to

benefit Nate Paul, OAG issued a ruling that all records related to this request were not subject to

disclosure due to a pending criminal investigation of Paul.

      35.      On or about March 13, 2020, lawyers for Paul tried again, this time issuing an open

records request to the Texas Department of Public Safety (“DPS”) for records related to the FBI’s

search of Paul’s properties in August 2019. DPS had cooperated with and assisted the FBI in

conducting the search of Paul’s office and properties. Because the search of Paul’s properties in

August 2019 was conducted by the Federal Bureau of Investigation, the FBI filed a brief with the

OAG urging OAG to follow its longstanding practice of not providing documents related to an

ongoing investigation. The FBI also sent a redacted version of the brief to Paul’s lawyers. A law

enforcement agency, when submitting a brief like this one, will typically redact a copy of the brief

to conceal information a law enforcement agency would not want the subject of an ongoing

negotiation to know during the investigation itself. The FBI sent the redacted version of the brief

to Paul’s lawyers. But Paul wanted the unredacted brief. Paxton tried to help Paul get the

unredacted brief.

      36.      Paxton contacted Ryan Vassar, then the Deputy Attorney General for Legal

Counsel, several times related to Paul’s request and pressured him to issue an opinion favorable to

Nate Paul’s efforts to get information about the FBI’s ongoing investigation of Paul. In meetings

between Paxton and Vassar, Paxton revealed that he had spoken personally with Paul about the




                                                13
       Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 15 of 130




activities that occurred on the day the search warrants of Paul’s properties were executed. Paxton

stated that he did not want to use the OAG to help the FBI or DPS in any way.

     37.       Longstanding OAG precedent and sound principles indicated that disclosure of the

documents should be prevented, yet Paxton directed Vassar to find a way to release the

information. Vassar struggled with this directive because allowing disclosure of the information

requested by Paul would overturn decades of settled expectations among sister law enforcement

agencies, compromise the OAG’s own law enforcement information, and likely spark innumerable

lawsuits challenging the newly announced application of the law.

     38.       Paxton then personally took the file, including all the responsive documents, which

included documents sealed by a federal court, and did not return it for approximately seven to ten

days. Paxton also directed that the final opinion, issued on June 2, 2020, take no position on

whether the documents should be released.

     39.       On or about May 20, 2020, lawyers for Paul issued an open records request to the

OAG for the un-redacted FBI brief referenced above. Paxton asked Vassar for a copy of the un-

redacted FBI brief, and directed Vassar to find a way to release the un-redacted FBI brief. Paxton

then directed Vassar, an OAG employee at the time, to release the opinion dated July 24, 2020,

which ultimately concluded that the unredacted FBI brief must be released.

     40.       These actions of OAG, Paxton, and Vassar at Paxton’s direction are inexplicable in

the absence of an illicit motive by Paxton to personally assist his friend, donor and financial

associate, Nate Paul and to thereby benefit Paxton himself.

     41.       The work and powers of the Open Records division of OAG is only one of the

functions and powers Paxton and OAG brought to bear at the expense of Texans and in favor of




                                               14
           Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 16 of 130




Nate Paul and Ken Paxton personally. See, e.g., TEX. GOV’T CODE §552.306 (requiring the attorney

general to render a decision regarding release of public information).

                             Paxton Caused OAG to Intervene in Civil Litigation To
                              Pressure a Charity to Settle a Dispute with Nate Paul

         42.        OAG and Paxton also caused the powers, employees and other resources of the

Financial Litigation and Charitable Trust Division of OAG to be brought to bear illegally to help

Nate Paul by pressuring a local charity with whom Paul was involved in a business dispute.

         43.        The OAG has approximately 35,000 open civil litigation cases each year, but

Paxton has only taken a personal interest in one case. That case involves Paul.

         44.        The Roy F. and Joann Cole Mitte Foundation (“Mitte Foundation”) is a non-profit

corporation and charitable foundation located in Austin, Texas. The Mitte Foundation invested in

and was a limited partner of several entities associated with World Class Holdings, Nate Paul’s

company. In 2018, the Mitte Foundation filed suit against several of those entities controlled by

Paul’s World Class Holdings claiming, among other things, that the Mitte Foundation was being

denied access to the books and records of the companies. That litigation grew and ultimately

resulted in the court appointment of a receiver over the World Class entities.

         45.        The Financial Litigation and Charitable Trust Division of the OAG has the power

to intervene in any litigation involving charities if doing so will protect the assets of the charity. 2

On January 31, 2020, lawyers in the Charitable Trust division of the OAG filed a notice with the

court declining to intervene in the case. (See Exhibit 3). The decision not to intervene reflected

the obvious and prudent conclusion by OAG staff that OAG’s intervention in a suit of this nature

– a dispute among owners (including the charity) of a valuable piece of Austin real estate in which




2
    See Tex. Prop. Code § 123.001, et seq

                                                   15
        Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 17 of 130




the charity was the plaintiff and represented by capable legal counsel at one of Texas’s most

established and reputable law firms – was not warranted.

      46.       However, months later, in May or June of 2020, Paxton began to take a deep

personal interest in this case. Paxton had several discussions with OAG staff about intervening in

the case. OAG staff advised Paxton that OAG had no interest in intervening in the case, as the

Mitte Foundation was the plaintiff in the case and instituted the suit to protect the charity’s interest,

making OAG’s intervention unnecessary.

      47.       Against the advice of OAG staff, including some of the Whistleblowers, and

contrary to OAG’s prior decision not to intervene, Paxton directed the Charitable Trusts Division

to intervene in the lawsuit, which OAG did on or about June 8, 2020. (See Exhibit 4). The OAG,

with Paxton acting in his official capacity and with other employees of OAG (as reflected in

Exhibit 4) carrying out the direction of Paxton, intervened for the purpose of exerting pressure on

the Mitte Foundation to settle on terms favorable to Nate Paul.

      48.       On or about July 6, 2020, Paxton asked Brickman to review the pleadings in the

case. On or about July 6, 2020, Brickman informed Paxton that OAG had no interest in the case

and should not waste resources of the OAG participating in a dispute in which the charity – which

the OAG should have wanted to protect – was the plaintiff and represented by capable counsel in

a legitimate dispute. Additionally, Brickman informed Paxton that the parties reached a settlement

agreement in August 2019, which Paul subsequently breached. Paxton did not waver in his desire

to bring the power and resources of OAG to bear in this civil litigation to help Nate Paul at the

expense of the charity that the OAG should have been protecting.

      49.       So intense and bizarre was Paxton’s desire to help Nate Paul that, on or about July

22, 2020, then-First Assistant Jeff Mateer and Brickman had to talk Paxton out of personally



                                                   16
       Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 18 of 130




attending and appearing before the Travis County District Court in this matter, which would have

been an unprecedented event as Paxton has not appeared in any court on behalf of the OAG in the

memory of any of the Plaintiffs, if he ever has.

      50.      Plaintiffs saw that Paxton was seeking to exert influence in the case not to assist

the charity, but to pressure the charity to reach a settlement favorable to the World Class entities

controlled by Nate Paul.

      51.      On or about October 1, 2020, then-Deputy Attorney General for Civil Litigation

and Whistleblower Darren McCarty directed the Financial Litigation and Charitable Trusts

Division to withdraw from the case. (See Exhibit 5).

      52.      Plaintiffs knew when they went to the FBI in September 30, 2020 that no legitimate,

lawful exercise of the powers of the OAG could explain OAG’s and Paxton’s intervention and

actions to help Nate Paul on the Mitte Foundation case. Plaintiffs would later learn that the political

action committee of a law firm that at that time represented Nate Paul’s interests on the Mitte

Foundation case made a $25,000 contribution to Paxton’s campaign on or about June 30, 2020, a

mere 22 days after the OAG intervened in the litigation at Ken Paxton’s insistence and over the

objections of OAG staff.

                         Paxton Directed a Legal Opinion to Benefit Nate Paul

      53.      On or about July 31, 2020, Paxton contacted Whistleblower Bangert and asked him

to look into whether restrictions on in-person gatherings due to COVID prevented the foreclosure

sales of properties. Bangert consulted Vassar. After hearing their researched views on this subject,

Paxton made clear that he wanted OAG to express a specific conclusion: that foreclosure sales

should not be permitted to continue. That Paxton would become personally involved in a question




                                                   17
       Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 19 of 130




such as whether foreclosures should be suspended was surprising enough. That he would come

down so personally and adamantly that COVID should stop foreclosure sales seemed bizarre.

      54.      Even more bizarre was the speed and timing of the release of the opinion Paxton

sought, and the connection to Nate Paul that soon became apparent. On Sunday, August 2, 2020

at approximately 1:00 a.m., OAG issued an informal legal opinion Paxton sought, concluding that

foreclosure sales should not be permitted to continue in light of the then-existing restrictions on

in-person gatherings to prevent the spread of COVID-19. Unbeknownst to Plaintiffs at the time,

this opinion favored persons such as Paul who hoped to stave off foreclosure sales. According to

media reporting, on the very next day, Monday, August 3, 2020, lawyers for Paul showed Paul’s

creditors a copy of Paxton’s opinion to prevent the foreclosure sales of Paul’s properties that were

scheduled for August 4, 2020. Here again, Plaintiffs reasonably concluded that OAG and Paxton

abused the office’s powers and personnel to personally benefit Nate Paul and Ken Paxton.

                      Paxton Used OAG to Investigate Nate Paul’s Adversaries

      55.      The OAG has approximately 400 open criminal cases and 2,000 open criminal

investigations each year. Paxton rarely showed an interest in any pending criminal investigations,

but he showed an extraordinary interest in investigations sought by Nate Paul.

      56.      In May of 2020, Paxton contacted the Travis County District Attorney and

requested a meeting to help Nate Paul present a criminal complaint. A meeting was held with the

DA’s staff. Paxton attended the meeting along with Paul and his attorney. Paul also submitted a

written complaint accusing federal law enforcement, a federal magistrate judge, Texas state law

enforcement, and a prosecutor with the U.S. Attorney’s office of violating his rights. Specifically,

Paul was alleging that federal law enforcement officials – either FBI agents or a federal prosecutor

– had made substantive alterations to a warrant for the search of his property after it had been



                                                18
       Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 20 of 130




signed by the federal magistrate judge. With OAG’s and Paxton’s help, Paul was asking the Travis

County DA to investigate the FBI and a federal prosecutor.

      57.      Paxton knew that the Travis County DA would have nothing to do with such an

outlandish and baseless accusation. But Paxton also knew he could request the Travis County DA

to refer the complaint to the OAG where, yet again, Ken Paxton could cause the OAG to bring its

resources and employees to bear to help Paxton’s friend and donor, Nate Paul.

      58.      By letter dated June 10, 2020, The Travis County DA’s Office referred Paul’s

criminal complaint to the OAG. Paxton assigned the matter to Plaintiffs Maxwell and Penley, both

employees of OAG, for investigation.

      59.      Maxwell, an employee of OAG at the time, scheduled an initial meeting with Paul

and his attorney, Michael Wynne, at which they stated their contentions that the substance of a

federal search warrant executed in August 2019 had been altered by a federal law enforcement

officer or federal prosecutor after they were signed by the federal magistrate judge.

      60.      Penley and Maxwell held a second meeting, at which they believed Paul and Wynne

would produce evidence supporting their claim. Paul and Wynne gave a further explanation of

their complaints and produced a thumb drive containing documents which they contended would

support their claims. After the second meeting, Penley and Maxwell examined the contents of the

thumb drive.

      61.      Shortly thereafter, Maxwell and Penley consulted with forensic experts in the OAG

Criminal Investigation Division (“CID”) and determined that no credible evidence existed to

support any state law charges. Paul’s allegation of misconduct by federal law enforcement

consisted entirely of a claim that the copy he had of the warrant contained metadata showing that

at some point the copy had been altered in some way. Paul and his lawyer had no evidence



                                                19
       Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 21 of 130




indicating how the copy had been altered. As Penley and Maxwell had learned from the forensic

experts in the CID and then explained to Nate Paul and his lawyer, metadata would show that a

copy of a document had been altered for a variety of common reasons having nothing to do with

changing the content of the warrant itself. For example, metadata showing the copy had been

altered would be present when a document was merely (a) saved as a .pdf; (b) redacted pursuant

to a court-prescribed redaction process to conceal sensitive information; or (c) emailed in an

encrypted format. All three of those things had been done to the copy of the warrant in Paul’s

possession.

      62.      Maxwell and Penley conveyed to Paul that they found no evidence of a crime under

Texas law. They suggested that, if Paul had concerns about the conduct of the federal prosecutor

and the FBI agents – concerns Maxwell and Penley did not share – they could present their

concerns to the federal court and/or to the Department of Justice Office of Inspector General

(DOJ/OIG).

      63.      Paul’s lawyer said that he had presented his concerns about the alleged alterations

of the search warrants, which were under seal at the federal District Clerk’s office, to the magistrate

judge at a hearing in February 2020, and that the judge had released some documents to him.

      64.      In or around this time, Paul leaked the fact that the OAG was investigating his

complaint against federal officials to the media.

      65.      Soon thereafter, Paxton, Paxton’s assistant, Penley, Maxwell, Paul, Wynne, and

two CID forensic experts attended a third meeting regarding Paul’s complaints. When Penley

announced his recommendation that the investigation be closed, Paul, Paul’s attorney and Paxton

pushed back. As a result of Paxton’s surprising response, Penley thereafter requested additional

documents from Paul’s counsel, but the attorney never provided those documents despite repeated



                                                  20
       Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 22 of 130




requests. After the third meeting, it was obvious that Paxton was dissatisfied with Maxwell’s and

Penley’s opinions and recommendation.

      66.      On August 18, 2020, Paxton contacted Vassar, asking him to explain how the OAG

could retain outside legal counsel. Vassar obliged, explaining that the OAG’s approval process for

hiring outside counsel requires authorization from no less than 10 different OAG personnel.

Various stages throughout the OAG’s review process, which is designed in part to prevent the

hiring of unqualified, conflicted lawyers to undertake unnecessary work or work that can be

provided by current OAG staff, provide that: a contract must be drafted; it must be approved;

conflicts must be cleared; and funding must be obligated. Vassar also explained that retaining

outside counsel is usually limited to matters in which the OAG does not have the necessary

experience (e.g., patent law), license requirements (e.g., patent law or pro hac vice admission), or

where an actual or apparent conflict of interest may arise in the matter.

      67.      On or about August 26, 2020, Paxton contacted Vassar again and asked if retaining

outside counsel to investigate criminal allegations was permissible. Vassar explained that Texas

law contemplates two unique scenarios involving the appointment of a special or outside

prosecutor. The first scenario involves a situation where a prosecutor may recuse herself to allow

the trial court to appoint an attorney pro tem as a prosecuting attorney. Tex. Code Crim. Pro. art.

2.07(a); see also Tex. Att’y Gen. Op. KP-0273 (2019). Paxton stated that a court-appointed

attorney pro tem was not acceptable. The second scenario involves a situation where a prosecuting

attorney may “request the assistance of the attorney general, and the attorney general may offer to

the prosecuting attorney the assistance of his office.” Tex. Gov’t Code §§ 41.102(b); 402.028(a).

Vassar cautioned, however, that he would need to defer to Penley on whether engaging outside

counsel to conduct a criminal investigation would be appropriate, given Penley’s responsibility to



                                                 21
       Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 23 of 130




oversee OAG’s criminal prosecutions. Paxton then asked Vassar to contact two potential

candidates who may be willing to serve as outside legal counsel, to explain the basic retention

process.

      68.      On or about August 26, 2020, Vassar began contacting the two potential candidates

who Paxton said might be willing to serve as outside counsel. During these contacts, Vassar

explained the outside counsel process and asked both potential candidates to provide him with

their proposed hourly rates and an estimate of the cost for conducting an investigation. One of the

candidates was Brandon R. Cammack, a Houston criminal defense attorney who had been licensed

only 5 years and never served as a prosecutor. The other candidate was a veteran former state and

federal prosecutor with decades of experience.

      69.      On or about September 3, 2020, Paxton announced his decision to retain Cammack

as outside counsel. Paxton instructed Vassar to draft an outside counsel contract and send it to

Cammack that same day. Paxton stated that this needed to be done immediately because the Travis

County District Attorney-elect would not be cooperative with this investigation and may rescind

the referral to the OAG. Vassar followed Paxton’s order, obtained a copy of the criminal referral,

for the first time, and prepared a draft contract for Cammack to review. At Paxton’s direction,

Vassar also sent a copy of the draft agreement to Paxton that same day.

      70.      On or about September 4, 2020, Cammack notified Vassar that the contract terms

were acceptable. Vassar then forwarded the draft agreement to the General Counsel Division to

begin the OAG’s internal review and approval process.

      71.      On or about September 23, 2020, Cammack contacted Vassar and asked him if

Cammack could obtain an email address from the OAG or some other official documentation to

identify himself as an attorney working for the OAG, because a certain prosecutor’s office was



                                                 22
        Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 24 of 130




asking for verification of Cammack’s relationship with the OAG. Vassar explained to Cammack

that his contract had not been approved yet, but that he would discuss potential ways to document

Cammack’s involvement in an investigation with relevant OAG personnel. Later that same day,

Paxton called Vassar, asking if Cammack could obtain an OAG email address and asking why

Cammack’s contract had not been approved yet. Vassar explained that the process can take time

due to the multiple approvals required. Paxton asked who was currently reviewing the agreement

and exclaimed that he was “tired of his people not doing what he had asked.” Upon checking the

OAG’s contract-approval application, Vassar identified that Penley was currently reviewing the

agreement. Paxton then ended the call.

       72.    On or about September 24, 2020, Penley refused to sign a memo to approve the

hiring of Cammack to take over the investigation of Paul’s complaint. Penley believed that the

claim alleging that federal law enforcement officers or a federal prosecutor had altered search

warrants was unsupported by credible evidence.

       73.    On Saturday, September 26, 2020, Paxton asked Penley to meet him in McKinney.

Paxton pressured Penley to approve the contract for Cammack. Penley again said he could not in

good conscience approve the contract as there was no factual basis for the absurd investigation

ordered by Nate Paul of the FBI agents and federal prosecutor involved in obtaining search

warrants for Paul’s home and offices. Thus, as late as September 26, 2020, Paxton clearly knew

that the contract he wanted with Cammack needed Penley’s approval and was therefore not

authorized under OAG’s own policies and procedures.

       74.    Plaintiffs would later learn that, on or about September 3, 2020, Paxton had asked

Cammack, to begin work as an outside counsel despite not having a contract approved to retain

him.



                                               23
       Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 25 of 130




      75.      The week of September 28, Cammack still did not have a contract that was

approved through OAG’s policies. He was therefore not authorized to engage in any work for the

OAG. Exhibit 6 to this pleading is a true and correct copy of the contract OAG now claims OAG

made with Cammack to provide legal services for OAG. This is the contract that was never

properly approved; it is the contract Paxton asked Penley to approve on September 24 and again

on September 26.

      76.      The contract states that Cammack was to provide legal services only as directed by

the OAG. (Exhibit 6, Addendum A). The contract states that Cammack would be hired as “Outside

Counsel.” Importantly, the contract does not identify Cammack as a prosecutor. It specifically

states that Cammack is not to represent OAG in litigation (§1.2.1), and also specifically states that

Cammack is not to provide indictment or prosecution legal services (Exhibit 6, Addendum A).

      77.      Yet, at Paxton’s and OAG’s direction, Cammack proceeded to conduct work

without a validly approved contract and then, at Ken Paxton’s and OAG’s direction, falsely

represented that he was a “special prosecutor” in order to obtain grand jury subpoenas under false

pretenses to investigate, harass, and intimidate Nate Paul’s perceived adversaries. Grand jury

subpoenas were signed by Cammack as “Special Prosecutor.”

      78.      The following are screen shots of an actual subpoena that was served on a financial

institution by Cammack. Nate Paul’s lawyer accompanied Cammack when serving the subpoena.




                                                 24
       Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 26 of 130




       …




     79.      On or before September 29, 2020, at Paxton’s and OAG’s direction, Cammack

obtained 39 grand jury subpoenas from the Travis County Grand Jury by falsely claiming he was

a “Special Prosecutor” authorized to represent OAG before the Grand Jury. He did so on the
                                             25
       Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 27 of 130




instructions and with the involvement of Ken Paxton acting in the course and scope of his duties

as the Attorney General of the State of Texas. Ken Paxton’s actions in directing and coordinating

this activity are the actions of the OAG and of an employee of OAG.

      80.      Not only were Paxton and OAG directing the OAG “outside counsel” to obtain

subpoenas on Paul’s enemies based on false representations that Cammack was a prosecutor, they

were causing the outside counsel to conduct an investigation outside the scope of what the outside

counsel’s purported contract even contemplated. Numerous of the subpoenas obtained by

Cammack and Paxton were outside the appropriate scope of the June 10 referral from the Travis

County District Attorney’s office. It would later be learned that Paul had sought an additional

investigation, this one asserting a wild conspiracy theory implicating the lawyers for the Mitte

Foundation charity, the court-appointed receiver in that litigation, the lawyer for the receiver, and

even a federal bankruptcy judge in what Paul called “on ongoing conspiracy” to defraud Nate Paul.

A copy of Nate Paul’s request is attached to this pleading as Exhibit 7. This request to investigate

was never the subject of the attempt to appoint Cammack. Thus, not only was Cammack never

properly approved under OAG policies to conduct any investigation in the first place and never

had the title or powers of a prosecutor, he was now obtaining subpoenas under false pretenses to

conduct an investigation that was never in the scope of his asserted contract with OAG. And he

was doing all of this at the direction of OAG and Ken Paxton to benefit Nate Paul and Ken Paxton.

      81.      On or about September 29, Plaintiffs each learned that Paxton was causing OAG to

use the grand jury process and the subpoenas obtained under false pretenses to investigate and

intimidate Nate Paul’s perceived financial adversaries. For example, the Whistleblowers learned

that one of the subpoenas was served on Independent Financial in Round Rock, a financial




                                                 26
       Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 28 of 130




institution that was involved with one of World Class’s properties, and that Cammack was

accompanied by Nate Paul’s attorney, Michael Wynne, when the subpoena was served.

      82.      On September 30, each of the Plaintiffs learned of a second grand jury subpoena

served on Amplify Credit Union in Austin, a World Class creditor.

      83.      On September 29 or 30, each of the Plaintiffs learned that many of the other

subpoenas obtained by OAG, Paxton and Cammack under false pretenses were directed to law

enforcement agents and federal prosecutors involved in the search warrants executed on Paul’s

offices and home back in August and in the investigation of Nate Paul. The subpoenas directed to

law enforcement agents sought personal information such as their personal cell phone information

and were clearly designed only to harass and intimidate the law enforcement officers.

      84.      Plaintiffs were shocked at what was transpiring – the Attorney General influencing

a criminal investigation that could be referred to the OAG, improperly hiring an “outside counsel”

and directing that individual to obtain grand jury subpoenas on false pretenses, all in an effort to

investigate and intimidate the federal law enforcement agents who were investigating Nate Paul

and some of Nate Paul’s lenders and financial adversaries in the many civil legal and foreclosure

proceedings swirling around Nate Paul.

            Plaintiffs’ Good Faith Belief that OAG and Paxton Committed Crimes

      85.      During the last week of September 2020, the Plaintiffs talked frequently about what

each of them knew about the various actions Paxton and OAG were taking to benefit Nate Paul

and Ken Paxton personally. Because Paxton’s and OAG’s actions to benefit Paul were so sweeping

and occurring across numerous divisions of OAG, not every Plaintiff knew the whole picture.

      86.      But by the afternoon of September 29, 2020 or the morning of September 30, 2020,

each of the Plaintiffs knew -- through direct observation or discussion with others with direct



                                                27
       Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 29 of 130




knowledge or review of documents and reasonable inferences -- every fact described in the

paragraphs above that had occurred by that time. And based on what they had observed, what they

had been told, and based on their experience, each of the Plaintiffs formed a good faith belief that

Paxton and OAG had violated Texas and federal criminal law, including but not limited to laws

regarding bribery, tampering with government records, obstruction of justice, harassment, and

abuse of office.

      87.        By way of example only, Texas Penal Code §39.02, titled Abuse of Official

Capacity, makes it a criminal offense for a public servant, with intent to obtain a benefit or with

intent to harm or defraud another, intentionally or knowingly misuse government property,

services, personnel or any other thing of value belonging to the government. As of September 30,

2020, because of the conduct of OAG and Paxton described above, each Plaintiff had a subjective

and reasonable belief that Paxton and OAG misused the funds, services and personnel of his office

to personally benefit Nate Paul and to benefit himself. Plaintiffs reasonably concluded that

Paxton’s bizarre, obsessive use of the power of his office to help Nate Paul was an effort to repay

Paul for Paul’s help with Paxton’s home remodel and/or to silence or repay Paul for helping or

paying Paxton’s mistress, and/or to encourage Paul not to reveal that Paxton had had an affair

and/or to repay Paxton’s campaign contribution, and/or to cause Paul to continue giving campaign

contributions.

      88.        Also by way of example, Texas Penal Code §37.10, titled Tampering With

Governmental Record, makes it a criminal offense to knowingly make a false entry in, or false

alteration of, a governmental record or to make, present or use any record, document, or thing with

knowledge of its falsity and with intent that it be taken as a genuine governmental record, or to

make, present or use a governmental record with knowledge of its falsity. By September 30, 2020,



                                                28
        Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 30 of 130




each of the Plaintiffs had formed a good faith and reasonable belief that Paxton and OAG directed

and participated in creating, presenting, and using false government records with knowledge of

their falsity. For example, Paxton and OAG knew that Cammack’s contract was not properly

authorized under OAG policy, that Cammack was never even allegedly authorized to investigate

the second Nate Paul complaint (Paul’s allegation of a conspiracy against him by a charity, a court-

appointed receiver, their lawyers, creditors, and a federal bankruptcy judge), that Cammack was

not a prosecutor or retained to be a prosecutor. Paxton and OAG directed Cammack to nevertheless

file applications for, obtain, and then serve subpoenas obtained on false pretenses, all in an effort

to intimidate and harass Nate Paul’s perceived adversaries, including his creditors and the law

enforcement professionals involved in investigating him. Each Plaintiff reasonably and in good

faith believed that Paxton and OAG engaged in conduct meeting these elements of this crime.

      89.      Texas Penal Code §36.02, titled Bribery, makes it a criminal offense to offer,

confer, or agree to confer on another, or solicit or accept or agree to accept from another any benefit

as consideration for the recipient's decision, opinion, recommendation, vote, or other exercise of

discretion as a public servant, party official, or voter or for the exercise of official discretion in a

judicial or administrative proceeding. By September 30, 2020, each Plaintiff formed a good faith

and reasonable belief, based upon the conduct described above, that Paxton and OAG had been

bribed. Paxton’s decisions, opinions, and exercise of discretion described in detail above were far

removed from the bounds of what an ordinary, prudent civil servant would do. They were all

ostensibly for the benefit of a single person, a 33 year-old real estate investor under FBI

investigation and caught in a maelstrom of business failure and litigation. That real estate investor

was also a major donor to Paxton’s campaign, was assisting Paxton in the remodel of his personal




                                                  29
       Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 31 of 130




residence, and was the employer of Paxton’s mistress. Plaintiffs reasonably believed Paxton’s

bizarre abuse of his office was the result of bribery.

      90.       18 U.S.C. §1510(a), titled Obstruction of Criminal Investigations, states:

       Whoever willfully endeavors by means of bribery to obstruct, delay, or prevent the
       communication of information relating to a violation of any criminal statute of the
       United States by any person to a criminal investigator shall be fined under this title,
       or imprisoned not more than five years, or both.

      91.       Under 18 U.S.C. §1512(c)(2), it is a federal crime to obstruct, influence or impede

any official proceeding or attempt to do so. Under 18 U.S.C. §1512(d), it is a federal crime to

intentionally harass another person and thereby hinder them from attending or testifying in an

official proceeding. By September 30, 2020, all of the Plaintiffs knew that Paxton and OAG were

orchestrating a campaign to use the levers of power of OAG to investigate, harass and intimidate

the federal law enforcement agents who were investigating and would likely testify in official

proceedings about the search warrants on Nate Paul’s home and offices. In addition, each Plaintiff

reasonably believed that Paxton was being bribed to orchestrate the harassment and witness

intimidation.

      92.       These are just examples of the specific criminal statutes covering the conduct

Plaintiffs reasonably and in good faith believed Ken Paxton and OAG had committed. Plaintiffs

also assert that the conduct they in good faith concluded Paxton and OAG had engaged in may

violate 18 U.S.C. §1344 (Bank Fraud); 18 U.S.C. §1956 (Money Laundering); and 18 U.S.C.

§1961 and 1962 (Racketeer Influenced and Corrupt Organizations).

Plaintiffs Make a Good Faith Reports about Paxton’s Abuse of Power to Law Enforcement

      93.       On September 30, Plaintiffs Brickman, Penley, and Vassar went together to meet

with agents for the Federal Bureau of Investigation in Austin, Texas. They were joined at the




                                                 30
       Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 32 of 130




meeting by other Whistleblowers. As described below, Plaintiff Maxwell separately reported his

good faith belief of crimes committed by Paxton and OAG on, before, and after September 30.

      94.      Although Plaintiffs were public employees of OAG and observed criminal conduct

by OAG and other OAG employees, Plaintiffs were not acting as prosecutors or law enforcement

officers when they went to the FBI to report the criminal conduct of the OAG and Paxton. They

were acting as concerned public employees who had a good faith belief that crimes had been

committed and went outside OAG to report it to law enforcement.

      95.      On September 30, Plaintiffs Brickman, Penley and Vassar, along with several other

Whistleblowers reported to the FBI what they collectively knew. Each of the Plaintiffs reported

all of what is described in paragraphs 17-92 above to the FBI. Plaintiffs Brickman, Penley, Vassar

and the others sat in the same room with at least two FBI agents for several hours. They went

around the room telling what they knew, what they’d heard, what they had observed, and the

reasonable inferences that could be drawn from known facts. They each answered questions put to

them by the FBI. The facts described in paragraphs 17-92 above (those that had occurred by

September 30) accurately summarize what Plaintiffs Brickman, Penley and Vassar collectively

shared with the FBI on September 30 by way of reporting their good faith belief that Paxton had

engaged in criminal conduct.

      96.      Specifically, each of the three Plaintiffs who attended the September 30 meeting

reported to the FBI how Paxton and OAG intervened in Open Record Requests to help Nate Paul,

intervened in civil litigation to help Nate Paul at the expense of a local charity, directed a legal

opinion on foreclosure sales to help Nate Paul, and used OAG as a hammer to help Nate Paul by

aiming a campaign of harassment and intimidation at Paul’s perceived adversaries, all as described

in detail above. Plaintiffs reported facts to the FBI, not legal conclusions, as would be expected



                                                31
        Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 33 of 130




in an interview with FBI. But the three Plaintiffs who attended that meeting made very clear that

they believed Paxton’s and OAG’s conduct were acts of criminal bribery, harassment, and abuse

of office.

      97.      David Maxwell could not attend the September 30 meeting with the FBI. But

Plaintiff Maxwell complained in good-faith of the acts described in paragraphs 17-92 above in

which Ken Paxton abused his office and his employer, the OAG, not just to one, but to three (3)

appropriate law-enforcement authorities before his termination by the OAG: the Texas

Rangers/Department of Public Safety, the FBI and Department of Justice, and the Travis County

District Attorney’s Office.

      98.      Although Maxwell was a public employee of OAG and observed criminal conduct

by OAG and other OAG employees, Maxwell was not acting as a prosecutor or law enforcement

officer when he went to the FBI to report the criminal conduct of the OAG and Paxton. He was

acting as concerned public employee who had a good faith belief that crimes had been committed

and went outside OAG to report it to law enforcement.

      99.      Prior to making these good-faith reports to these appropriate law enforcement

authorities, Maxwell had communicated his concerns about his good-faith—both objectively and

subjectively—reports and complaints about the violations of state and federal laws. Maxwell has

believed and knows from his considerable experience that the authorities to whom he reported the

unlawful conduct are authorized to investigate or prosecute violations of criminal law, things of

which this Court can—and should—take judicial notice of.

     100.      Apart from reporting to proper law enforcement authorities, Maxwell had also

communicated to people at the OAG’s office including Ken Paxton himself that the conduct Ken

Paxton and the OAG had engaged in in connection with Nate Paul was contrary to the law and



                                               32
         Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 34 of 130




violated Texas laws prohibiting tampering with government records, harassment, abuse of office 3

and bribery 4 as well as the federal laws of obstruction of justice. 5 Maxwell stated that Ken Paxton

“was going to get himself indicted” and objected to others at the OAG willing to go along with

this unlawful behavior. Maxwell also communicated that the misuse of grand jury subpoenas

could also constitute falsification of official records and tampering with witnesses. 6

      101.       The OAG was implicated in the unlawful conduct as well as Ken Paxton because

Ken Paxton committed these acts while acting as the Attorney General and under color of his

official capacity. 7 The OAG is certainly subject to whistleblower claims. See e.g., Office of

Attorney General v. Rodriguez, 605 S.W.3d 183, 185 (Tex. 2020) (“we decide whether sufficient

evidence exists to support a finding that a state agency violated the Texas Whistleblower Act when

it fired one of its managers.”) (emphasis added).

      102.       Plaintiff Maxwell reported the unlawful conduct to Randy Prince, Deputy Director

Law Enforcement Operations of the Texas Rangers, on September 30, 2020. Ranger Prince is a

person with direct ability to initiate the investigation or prosecution of the laws that Maxwell

reported had been violated. After Maxwell notified people at the OAG about these concerns about

violation of law and while on administrative leave but before OAG further retaliated by

terminating him on November 2, 2020, Maxwell made the same good-faith reports to the FBI and

Department of Justice, and the Travis County District Attorney’s Office.




3
  Texas Penal Code § 39.02.
4
  Texas Penal Code § 37.10, 36.02.
5
  See e.g., 18 U.S.C. § 1510(a); 1512(c)(2), (d), and (k).
6
  Texas Penal Code § 37.10, 36.05.
7
  To the extent Defendant advances the theoretical argument that any unlawful act is not actionable because it would
be ultra vires if committed by a public employee or governmental entity being steered by the person running it in his
official capacity, that argument or construction would do violence to, and run directly contrary to, both the purpose
and language of the Whistleblower Act.

                                                        33
       Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 35 of 130




     103.      Since at least August of 2020, Maxwell has had a continuous subjective belief that

the conduct of Ken Paxton and the OAG that he reported violated the law based on his decades in

law enforcement and having been Ken Paxton’s hand-picked top law enforcement officer in Texas.

Maxwell has been a licensed peace officer since April of 1973 (nearly 48 years). Maxwell has

decades of experience investigating, analyzing, and charging criminal conduct including decades

of investigating public corruption. Maxwell has worked with the public integrity branch of the

DPS. In addition to being subjectively made in good faith, his beliefs are also objectively

reasonable and in good faith. These beliefs are not only deeply rooted in his vast law enforcement

experience but objectively supported by a plain reading of the laws at issue, as well as by the

similar conclusion reached and publicly expressed by seven (7) other high-level employees of the

OAG who are all licensed and respected attorneys.

            Paxton’s and OAG’s Knowledge of Plaintiffs’ Reports to Law Enforcement

     104.      On October 1, seven of the eight Whistleblowers signed and sent to the OAG’s

Director of Human Resources a letter notifying OAG that they had reported to an appropriate law

enforcement authority a good faith belief of suspected violations of law committed by Paxton and

OAG. A true and correct copy of that letter is attached to this pleading as Exhibit 8.

     105.      Plaintiff Maxwell did not sign the October 1 letter because he was out of state on

vacation at the time the letter was drafted, but he was in complete agreement with the letter. He

sent a separate written notice to Human Resources regarding his whistleblower complaint to an

appropriate law enforcement authority. Plaintiff Maxwell would have signed the letter had he been

present to do so.

     106.      The OAG’s office knew that Maxwell was fully in agreement with the views

expressed in the October 1, 2020 letter signed by the lawyers, and that Maxwell would have signed



                                                34
           Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 36 of 130




but for being physically outside of Texas on that day. Not only was Ken Paxton aware of

Maxwell’s complaints and reports, but Brent Webster, Ken Paxton’s hand-picked successor as

First Assistant was also aware at the time the OAG decided to retaliate against Maxwell.

        107.        The October 1 letter states:




           Paxton and OAG Take Immediate Adverse Employment Actions

        108.        Ken Paxton swiftly began retaliating against the Whistleblowers both individually

and as a group. Paxton’s acts were deliberately calculated to try to impugn these public servants,

denigrate their legitimate, good-faith complaints about Paxton’s corruption, attempt to silence or

divide them, and deter others from making such complaints about Paxton’s unlawful conduct.

           Friday, October 2 -- Paxton Suspends and Later Terminates Penley and Maxwell

        109.        On October 2, one day after the letter to OAG Human Resources, Plaintiffs Penley

and Maxwell were placed on “investigative leave” at the direction of Paxton. Their email accounts

and building access badges were disabled. Paxton and the OAG refused to tell Penley or Maxwell

what was being investigated or even whether they were accused of wrongdoing of any kind. For

the next 2 weeks, the OAG made no attempts to interview Penley or Maxell as part of any alleged

investigation. On October 15, newly appointed First Assistant Brent Webster 8 extended Penley’s

and Maxwell’s respective investigative leaves to Monday, November 2, again without giving any


8
    Whistleblower Jeff Mateer, the previous First Assistant Attorney General, resigned on October 2, 2020.

                                                          35
       Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 37 of 130




explanation for placing them on that status or disclosing the reason for the investigation or the

scope of it. Penley made several requests, by phone call and email, seeking that information, but

never received a response from Paxton, Webster or anyone else at the OAG.

     110.      If Maxwell and Penley had not reported the unlawful conduct, the OAG would not

have placed them on investigative leave. No other reason was provided at the time, and the events

leading up to it point to that conclusion.

                 Saturday, October 3 – Paxton and OAG Smear the Whistleblowers

     111.      On Saturday, October 3, the OAG Communications Department issued the

following statement:

       The complaint filed against Attorney General Paxton was done to impede an
       ongoing investigation into criminal wrongdoing by public officials including
       employees of this office. Making false claims is a very serious matter and we plan
       to investigate this to the fullest extent of the law.

     112.      This statement was blatantly false in numerous respects and clearly intended to

intimidate and retaliate against the Whistleblowers. First, the reports to law enforcement were not

made “to impede an ongoing criminal investigation.” Rather, the Whistleblowers’ reports to law

enforcement were made based on their good faith belief that Attorney General Paxton was abusing

the Office of Attorney General to benefit a campaign donor and private individual and to benefit

himself.

     113.      Further, there was no OAG investigation into “employees of this office” as Paxton

claimed in his press release. Paxton was trying to mislead the public into believing that the

Whistleblowers themselves were under investigation for criminal misconduct when they went to

law enforcement with their concerns about Paxton. This false statement was clearly intended to

punish the Whistleblowers by smearing and discrediting them.




                                                36
       Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 38 of 130




     114.      Paxton also asserted in the October 3 statement that the Whistleblowers made “false

claims” to law enforcement. This too was a lie. The Whistleblowers provided only accurate

information to law enforcement. Moreover, Paxton did not even know on October 3 what

information the Whistleblowers had provided to law enforcement. Paxton was certainly aware of

his own corrupt conduct and worried about it being exposed, but he did not know what specifically

the Whistleblowers had reported and therefore had no basis upon which to accuse eight of his most

senior staff of making false claims to law enforcement. Nor did he seek any transparency, the

appointment of any truly neutral or objective special investigator, contact any proper law

enforcement agency, or act in any way as a proper steward of the OAG would act.

     115.      Paxton punctuated his October 3 statement by threatening the Whistleblowers. The

final sentence of his official statement read, “Making false claims is a serious matter and we plan

to investigate this to the fullest extent of the law.” (Emphasis added).

     116.      It is hard to imagine a more egregious act of retaliation against a whistleblower than

what Paxton began on Saturday morning, October 3. The life’s work of each of the Whistleblowers

was the law or law enforcement or both. Their credibility and integrity are their essential stock-in-

trade. Paxton’s statement was a pack of lies intended to hit the Whistleblowers where he thought

it would hurt them most: false claims that the Whistleblowers made untrue accusations to law

enforcement and had impeded a lawful investigation and a threat of investigation and legal

consequences. The potential and certainly-intended effect would be to chill further revelations

about Paxton’s wrongdoing and try to smear the good name, character, and reputation of these

public servants. Paxton’s actions were straight out of the playbook he had been running against

the enemies of his friend and donor Nate Paul. Now, on a Saturday morning less than 48 hours




                                                 37
       Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 39 of 130




after learning of the Whistleblowers’ reports to law enforcement, Paxton was running the same

play against his own senior deputies, the Plaintiffs here.

                                  October 5 and 7 -- More Retaliation

     117.      Over the weekend of October 3-4, media continued reporting about the relationship

and connections between Paxton and Nate Paul and Paxton’s personal involvement in the use of

his office to investigate and attack Paul’s enemies. In response to this more detailed reporting,

Paxton again treated the official, taxpayer-funded Communications Department of the OAG as an

instrument of retaliation. The OAG Communications Division released this official statement on

Monday, October 5 at Paxton’s direction (incorrect capitalization in original):

       The Texas attorney general’s office was referred a case from Travis county
       regarding allegations of crimes relating to the FBI, other government agencies and
       individuals. My obligation as attorney general is to conduct an investigation upon
       such referral. Because employees from my office impeded the investigation and
       because I knew Nate Paul I ultimately decided to hire an outside independent
       prosecutor to make his own independent determination. Despite the effort by rogue
       employees and their false allegations I will continue to seek justice in Texas and
       will not be resigning.

     118.      The first two sentences of Paxton’s October 5 statement were intended to mislead

the public into believing that, in conducting the investigations of Nate Paul’s enemies, OAG was

merely carrying out a legal obligation to investigate a matter referred from the Travis County

District Attorney. Of course, this lie by Paxton was calculated to counter the emerging truth that

Paxton was personally orchestrating the use of the OAG to attack Paul’s enemies.

     119.       Two days later, the OAG Communications Division released another official

statement at Paxton’s direction, reiterating some of the prior statement’s untruths and falsely

implying that the Cammack contract had been approved through proper OAG procedures:

       Employee, Ryan Vassar, drafted the contract for outside counsel and communicated
       directly with Independent Counsel Brandon Cammock to assist in the execution of
       the contract. The Attorney General signed the contract.

                                                 38
       Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 40 of 130




       Mr. Vassar included the job description in this contract that legally authorized
       Independent Counsel Brandan Cammock to act. Mr. Vassar also provided this
       contract directly to Attorney General Paxton for his signature.

     120.      This official communication omits the key facts that what Vassar circulated to both

Cammack and Paxton was clearly labeled a “draft” contract, prepared at Paxton’s direct command;

that (as Paxton well knows) Vassar lacks authority to individually authorize retention of outside

counsel; and that the required OAG approvals for the Cammack contract were never obtained.

Vassar demanded correction of the false statement, but his request was ignored.

     121.      It was not only the Whistleblowers who were alarmed by Paxton’s false October 5

and 7 statements. Margaret Moore, the District Attorney of Travis County, rightly and justly called

Paxton out on his misleading statements. In response to Paxton’s October 5 and 7 statements,

Travis County D.A. Moore wrote to Paxton on October 9:

       On June 10, 2020, my office sent to David Maxwell [the then-current Deputy
       Director of Law Enforcement Division for the OAG] a letter referring a Request to
       Investigate (RTI) filed in our office by Nate Paul. You asked my office to hear his
       complaints. The referral to the OAG was made with your approval. We did not
       conduct any investigation into the merits of the matters complained of….

       The referral cannot and should not be used as any indication of a need for
       investigation, a desire on the Travis County D.A.’s part for an investigation to take
       place, or an endorsement of your acceptance of the referral.

       My office has closed this file and will take no further action. Furthermore, I have
       instructed my employees to have no further contact with you or your office
       regarding this matter.


     122.      The District Attorney closed her letter to Paxton by expressing her evident alarm at

Paxton’s conduct:




                                                39
Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 41 of 130
       Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 42 of 130




that Brickman was being punished and stripped of responsibilities and thereby deter similar

attempts to complain about or hold Paxton accountable for his official misconduct.

     125.      Later that same morning, First Assistant Brent Webster arrived at Brickman’s office

escorted by an armed peace officer who identified herself as Sergeant Amy Biggs. Mr. Webster

repeatedly insisted that he speak alone with Brickman. Brickman politely offered to meet with Mr.

Webster in the presence of other deputies but prudently and respectfully declined to meet with Mr.

Webster alone or in the presence only of the armed guard accompanying Webster. Confronting

Brickman – in needless and unprecedented, banana republic-like, fashion with an armed guard –

and insisting on meeting alone for unspecified reasons was clearly an attempt by Webster to

intimidate Brickman.

     126.      About thirty minutes later, Webster came by Brickman’s office, saw him talking on

his cell phone, and instructed Brickman to take his cell phone to his car and leave it there. At the

time, Brickman was talking on his cell phone with a colleague, Senior Counsel to Attorney General

Paxton, Zina Bash. Webster’s instruction to take the phone to the car was not consistent with any

rule or policy of the office. Other employees also carry and use personal cell phones. In fact, Paxton

himself carries multiple personal cell phones, including routinely cycling through “burner” cell

phones. This needless instruction to Brickman was not just a bush-league attempt at intimidation;

not having his cell phone posed a significant issue for Brickman because his school-age children

only have his personal cell phone number. Additionally, Brickman is the guardian for his 96 year-

old grandmother who suffered a recent fall and broke her back, and Brickman coordinates her care.

     127.      Still on Monday, October 5, Brickman learned that the Scheduler, a position that

reported to Brickman, had been replaced without any involvement by Brickman. This was yet




                                                 41
        Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 43 of 130




another power play by Webster, clearly intended to demote and demean Brickman by removing

responsibilities.

     128.       After Mateer resigned and Maxwell and Penley were placed on leave, the remaining

Whistleblowers and other employees of the OAG watched as their colleagues were systematically

retaliated against, mistreated, placed on leave, harassed and fired.

     129.       On October 8, 2020, during a regular meeting of the OAG’s deputies, directors, and

other senior members, Whistleblower McCarty asked Webster and Paxton whether the OAG

would continue to make disparaging remarks to the media about the Whistleblowers. Paxton did

not respond and Webster expressly refused to answer.

     130.       On October 13, Paxton conducted an interview with the Southeast Texas Record in

which he once again maligned the Whistleblowers, stating that his deputies and former first

assistant engaged in “an effort to cover up the reality of what really happened [with Paul].”

     131.       Several of the Whistleblowers had job duties removed, were excluded from regular

meetings, and encountered the armed guard that had begun accompanying Webster. Some

indicated in formal complaints to the OAG that they believed their OAG issued electronic devices

were being monitored and were told that they were “under investigation.” The Whistleblowers

also received “litigation hold” letters concerning Paul that instructed them to preserve all

correspondence and documents related to his complaints. Someone even placed empty boxes near

the offices of some of the Whistleblowers. All of these actions were overt and intended to dissuade

other OAG employees from engaging in protected conduct and to create a hostile work

environment to persuade the remaining Whistleblowers to resign. It worked.

     132.       On October 19, Ryan Vassar, one of the Whistleblowers, received an email from

Webster asking to meet in Webster’s office at 1:00. Vassar, who was working remotely at the time,



                                                 42
       Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 44 of 130




acknowledged Webster’s email and reported to Webster’s office. Webster invited Vassar into his

office and left the door open while armed guard, Amy Biggs, sat in a chair outside the door. After

a meaningless, five-minute conversation, Webster announced that he was placing Vassar on

investigative leave for two weeks. Vassar asked multiple times why he was being investigated, but

Webster refused to answer. Webster, instead, said that the investigation was “open-ended.” At the

end of the meeting, Webster directed Vassar to leave his agency-issued laptop and cell phone on

Webster’s desk. Webster and Sergeant Biggs then escorted Vassar to his office to collect his

personal belongings, parading him around the building in front of his colleagues in what could

have only been intended to demean Vassar and intimidate him and the other Whistleblowers. After

collecting his belongings, Sergeant Biggs then accompanied Vassar in the elevator and escorted

him outside the building. Vassar’s leave was supposed to end on November 2, 2020, but his earlier

request for clarification went unanswered by anyone at the OAG until the next day, November 3,

2020, when the Human Resources Division notified him that his leave had been extended for

another 80 hours. Thus, Vassar was, without justification or explanation, completely stripped of

his job responsibilities and constructively discharged.

     133.       On October 20, Plaintiff Brickman and Whistleblower Lacey Mase were

wrongfully terminated by Paxton and Webster for making their whistleblower report.

     134.      On October 26, Whistleblower Darren McCarty resigned.

     135.      On October 28, Whistleblower Ryan Bangert resigned.

     136.      Vassar’s second 80-hour investigative leave period was set to expire on November

16. However, on November 13—the day after this lawsuit was filed—Vassar was summoned to

the Price Daniel building on four hours’ notice. After responding that he was out of town and




                                                43
       Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 45 of 130




unable to make the suddenly scheduled meeting, Vassar was directed to report at 8:00 AM the

following Monday, November 16.

     137.       Upon his arrival that morning, the retaliation immediately resumed. Vassar was

escorted to the eighth floor of the building, where an armed officer required Vassar to surrender

his mobile phone and subjected him to a physical search for recording devices (no word on what

OAG was afraid might be recorded). After a half-hour wait, Vassar was escorted into the office

of First Assistant Webster, with the armed officer prominently standing guard outside the door.

Webster stated that his investigation of Vassar was 99% complete and then proceeded to

interrogate him on various subjects. When Webster was finished, the armed officer escorted

Vassar back down the elevator and outside the building.

     138.       Then Vassar was ordered to report back to the Price Daniel Building the next day,

November 17, at 10:00 AM. Vassar arrived promptly at 10:00 AM.. Webster and HR personnel

arrived at 10:30 AM. Webster then fired Vassar for false and pretextual reasons. And just like

that—less than two months after their legally protected, good-faith report to law enforcement

authorities, OAG had run off all eight whistle blowers.

            Paxton Uses His Report to the Texas Legislature as a Tool to Further Retaliate
                                    Against the Whistleblowers.

     139.       Texas State Representative Jeff Leach is the Republican Chairman of the House

Committee on Judiciary and Civil Jurisprudence. Rep. Leach represents parts of Collin County,

where Paxton is from. Rep. Leach has been a political ally of Paxton’s. On October 9, 2010, Rep.

Leach wrote to Paxton, “Texans have good reason to be concerned that the important work of [the

Office of the Attorney General] may not be possible under your continued leadership. If there is

any truth whatsoever to the factual and legal claims of your own senior staff, I believe you must

voluntarily resign your position and urge you to do so.”

                                               44
        Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 46 of 130




     140.       Rep. Leach expressed that his paramount concern was that the operations of the

OAG “continue without interruption and the trust of the people of Texas in their Chief Law

Enforcement Officer must be restored.” Rep. Leach requested that Paxton provide a written report

to all members of the Texas Legislature as to what specific steps are being taken by Paxton and

Brent Webster to ensure that the effective operation of the OAG continue in full force and effect.

Rep. Leach asked for the report to be provided within seven (7) days.

     141.       OAG Director of Legislative Affairs Ryan Fisher emailed various staffers

requesting their input into the letter. Although several of the Whistleblowers raised concerns with

the operation of the office and the effect of the retaliation on pending matters, none of this criticism

made its way into the response to Chairman Leach, which on information and belief was written

by Paxton and Webster – not Fisher.

     142.       Paxton sent his written report to Chairman Leach and the 181 members of Texas

Legislature on October 16, 2020. The report was a barely-two-page, self-aggrandizing letter that

failed to respond to Rep. Leach’s inquiry in any substantive respect. The letter was a combination

of misleading statements, material omissions, and praise for work that mostly began well before

First Assistant Webster assumed his new role on October 5, 2020 and that had no bearing on the

concern raised by Rep. Leach in his October 9 letter.

     143.       Paxton used the report requested by Rep. Leach to again defame and retaliate

against the Whistleblowers. Paxton’s letter began with a lie and a smear: “Thank you for your

October 9 letter asking whether OAG operations continue apace despite the false claims made by

some OAG employees.” Rep. Leach never said the allegations the Whistleblowers took to law

enforcement were “false claims.” Paxton was yet again making that allegation to smear and




                                                  45
       Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 47 of 130




discredit the Whistleblowers, and he was using a formal, written report requested by a leader in

the Texas House of Representatives to amplify his attacks on the Whistleblowers.

     144.       Notably, in his response to a request for specific steps he was taking to ensure the

office was functioning effectively, Paxton failed to even inform Rep. Leach that at least five of the

Whistleblowers had recently filed formal internal grievances alleging that Paxton was harassing

and using his office to punish the Whistleblowers. Those complaints from high-ranking deputies

were filed in writing and addressed serious concerns about the functioning of the Office of

Attorney General. Yet Paxton’s report to the Legislature made no mention of the complaints.

Paxton’s report to the Legislature was to the effect of, “all is well.”

            October 9 -- Paxton Claims to Shut Down Cammack Investigation of Nate Paul
                                           Enemies

     145.       At the end of a busy Friday, October 9, Paxton claimed to be concluding the

Cammack investigation of Nate Paul’s enemies. OAG issued a statement from Paxton saying, “In

this case, we can only investigate in response to a request for assistance from the District

Attorney’s office. This investigation is now closed.” Subsequent events suggest this was yet

another effort by Paxton to mislead the public.

            October 19 -- Paxton and Webster Indicate they Will Reopen Investigation of
                                      Nate Paul’s Enemies

     146.       Although Paxton told the public on October 9 that the investigation into Nate Paul’s

enemies “is now closed,” after 9:00 p.m. on October 19, several of the Whistleblowers received

an odd email from First Assistant Attorney General Brent Webster. It read in part, “Given your

conflicts, you are instructed not to work on any OAG business relating to your allegations against

Nate Paul, General Paxton, or any connected cases or OAG matters.”

     147.       Plaintiffs were puzzled by what matters still pending in the OAG might relate to



                                                  46
       Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 48 of 130




Nate Paul or Paxton. One Plaintiff, Blake Brickman, wrote back the next morning seeking

clarification. Brickman wrote to Webster:




     148.     Brent Webster responded without answering Brickman’s questions. Rather,

Webster wrote, “Let’s meet at 1:30 in my office to discuss this.” Brickman expressed reluctance

to meet with Webster to speak about Nate Paul related matters. Brickman offered to meet with

Webster at 1:30 with a fellow deputy attorney general present. Brickman also pointed out that,

since the directive to stay away from Nate Paul or “related” matters was made in writing, it was

appropriate that he receive in writing a response identifying those matters. But Webster was

adamant that they meet alone to discuss these unknown Nate Paul related matters that Webster was

instructing Brickman to stay away from.




                                              47
       Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 49 of 130




     149.      Webster had no intention of telling Brickman about the Nate Paul matters he was

referring to in his email from the night before. When Brickman arrived at Webster’s office,

Webster, an armed guard, and a human resources employee were present. Webster brought

Brickman into the office and fired him. Webster said Brickman had been “insubordinate.”

                   November 2 – OAG and Paxton terminate Maxwell and Penley

     150.      On or about October 23, 2020, 3 weeks after Maxwell was put on investigative

leave, the OAG collected Maxwell’s agency issued laptop and cell phone. On October 28, nearly

one month after he was put on investigative leave, the OAG requested Maxwell provide his

passwords.

     151.      On or about the afternoon of October 28, 2020, nearly one month after Penley was

put on investigative leave, Penley received a request to return the following day his agency issued

laptop and cell phone, and Penley complied.

     152.      On Friday October 30, 2020, Penley and Maxwell were instructed to report to

separate buildings at the Austin office of the OAG on November 2, 2020 at 9 a.m. OAG’s Human

Resources department sent the following email to Maxwell:

       Director Maxwell:

        Please be advised that you are directed to report to the William P. Clements Building on
Monday , November 2, 2020 at 9:00 a.m. Please proceed to 205J (large training room) on the 2nd
floor. Please confirm receipt of this email.
        Thank you for your cooperation.

       HR-Help

     153.      Penley asked what the purpose of the meeting was and was only told it was “work-

related.”

     154.      Maxwell and Penley appeared as requested at the OAG’s Austin office on

November 2, 2020, and they both experienced even more irregularities, harassment, and

                                                48
       Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 50 of 130




retaliation. Contrary to Texas law and Paxton’s instituted written policy preventing the disarming

of licensed peace officers, Brent Webster issued orders to OAG staff to prevent Maxwell from

entering if armed, despite Maxwell’s status and distinguished career. The OAG violated Maxwell’s

rights as a licensed peace officer, with a valid License to Carry, to possess a legal weapon at a

State Office, contrary to Article 30.06. Penley was escorted up the elevator and into the Executive

Conference Room by an armed guard, who remained stationed outside the room throughout the

meeting, which lasted from about 9 a.m. to 5 p.m.

     155.      Penley and Maxwell were subjected to hostile conditions and conduct throughout

the entire day. Webster refused to tell Penley or Maxwell why they had been placed on

investigative leave, the reason for the investigation or the scope of it. He also denied Penley’s

request to have one of the other Whistleblowers attend the meeting as a witness. Instead, Webster

proceeded to interrogate Penley and Maxwell in a hostile and aggressive manner. The OAG

engaged in a charade under the guise of an administrative investigation interview, but it was

apparent that the Whistleblowers’ complaints about Paxton’s misconduct were the driving force

for the events of November 2. Webster pressured both Maxwell and Penley to resign, which they

refused to do. At the end of the day, the OAG wrongfully terminated Maxwell’s and Penley’s

employment in retaliation for their protected complaints of illegal conduct by Paxton and the OAG.

                             Plaintiffs File Formal Complaints with OAG

     156.      On October 16 and again on October 29, Plaintiff Brickman initiated action under

any applicable grievance or appeal procedure of the OAG relating to suspension or termination of

employment or adverse personnel action pursuant to TEX. GOV’T CODE §554.006(a). Although the

agency had 60 days to investigate his complaint pursuant the Whistleblower Act, OAG HR

responded to the October 16 complaint in less than 24 hours stating that there was no complaint



                                                49
       Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 51 of 130




procedure available to Deputy Attorney Generals like Brickman and immediately dismissing the

complaint.

     157.      On October 12 and again on November 10, 2020, Plaintiff Penley initiated action

under any applicable grievance or appeal procedure of the OAG relating to suspension or

termination of employment or adverse personnel action pursuant to TEX. GOV’T CODE

§554.006(a). OAG HR responded to the Friday, October 12 complaint by letter dated October 16

stating that there was no complaint procedure available to Deputy Attorney Generals like Penley

and immediately dismissing the complaint. Penley subsequently inquired whether there was

another internal administrative procedure at the OAG by which he could appeal his wrongful

termination claim other than the formal complaint process under which he had attempted to initiate

a complaint on October 12. By letter dated November 10, the Formal Complaint Officer replied:

        ….This letter is to inform you that there is no other internal administrative procedure at the
Office of the Attorney General other than the formal complaint process by which you may appeal
your termination….

     158.      On November 10, Penley initiated another grievance by submitting a formal

complaint about his wrongful termination.

     159.      On October 13 and again on November 4, 2020, Plaintiff Maxwell initiated action

under any applicable grievance or appeal procedure of the OAG relating to suspension or

termination of employment or adverse personnel action pursuant to TEX. GOV’T CODE

§554.006(a).

     160.      On October 15, 2020, Plaintiff Vassar initiated an action under any applicable

grievance or appeal procedure of the OAG relating to suspension or termination of employment or

adverse personnel action pursuant to TEX. GOV’T CODE §554.006(a). His formal complaint

detailed a litany of unlawful and retaliatory actions taken against him by Paxton and OAG since



                                                 50
       Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 52 of 130




his good-faith report to appropriate law enforcement authorities of legal violations by the OAG

and by the Attorney General Ken Paxton. Although the agency had 60 days to investigate his

complaint pursuant the Whistleblower Act, OAG HR responded to the October 15 complaint the

very next day stating that there was no complaint procedure available to Deputy Attorney Generals

such as Vassar and immediately closing the complaint.

                            November 5 – the Smear Campaign Continues

     161.      On November 5, 2020, Paxton’s campaign spokesperson, Ian Prior, who is not an

OAG employee and is therefore without knowledge on any OAG personnel matters, referred to

Plaintiffs in a news article as “desperate former employees trying to spin a false narrative”.

     162.      On November 11, 2020, the New York Times reported:

        Mr. Paxton told the New York Times in a statement that the latest controversy was created
by members of his staff who had opposed his decisions without having all the facts and who made
‘their disagreement noisy and public’ in an attempt to undermine the integrity of the office.

                                           IV. Cause of Action

               Count 1: Violation of Texas Whistleblower Act

     163.      Plaintiffs incorporate and re-allege paragraphs 1-162 above.

     164.      Plaintiffs were all public employees employed by the OAG, which is a state

governmental entity and unit of the State of Texas.

     165.      As described in paragraphs 17-103 above, Plaintiffs all in good faith made reports

to law enforcement authorities of violations of criminal law by the OAG and by the Attorney

General Ken Paxton, who is an employee of OAG and whose criminal actions were taken in the

course of his duties for OAG.

     166.      The OAG and Paxton specifically were aware of Plaintiffs’ good faith reports to

law enforcement.



                                                 51
        Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 53 of 130




      167.       Plaintiffs were subsequently subjected to adverse personnel actions by OAG and

Paxton -- including demotion, suspension, removal of work assignments, hostile work

environment, constructive termination and termination of employment – because of the reports

they made. The adverse employment actions would not have been taken against them had they not

made the good-faith reports to law enforcement.

      168.       Each of the adverse employment actions was committed within 90 days of the

reports to law enforcement, and in some cases within 1 business day of OAG’s and Paxton’s

learning of the reports. Thus, under Texas law, there is a presumption that the adverse employment

actions were taken because the employee made the report to law enforcement. TEX. GOV’T CODE

§554.004(a). In addition, the circumstances of the actions prove that the adverse actions were taken

because of the reports of Attorney General Paxton’s criminal conduct to law enforcement.

      169.       The adverse employment actions have caused Plaintiffs damages, including but not

limited to past lost wages, past and future lost benefits, loss of future earnings and earning capacity,

harm to his reputation, emotional pain, mental anguish, and loss of enjoyment of life.

      170.       Plaintiffs seek legal and other equitable remedies, reinstatement to their former

positions or equivalent positions and to have lost fringe benefits and seniority rights reinstated,

including but not limited to the vesting of retirement benefits.

      171.       Plaintiffs have all invoked any available grievance or appeal procedure.

      172.       All conditions precedent have been met, waived, or otherwise been satisfied to

Plaintiffs’ filing suit.

                           V.      Verified Motion for Temporary Injunction

      173.       Plaintiffs Maxwell and Vassar incorporate by reference paragraphs 1 - 172 above

and the declarations attached hereto respectively verifying them.



                                                  52
          Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 54 of 130




     174.      Plaintiffs Maxwell and Vassar file the verified motion for temporary injunction

asking the Court to order reinstatement pending trial of this case and other relief as requested

herein.

          A.   Temporary Injunction Standards

     175.       An applicant for temporary injunction must (a) plead a cause of action; (b) show a

probable right to recover on that cause of action; and (c) show a probable, imminent, and

irreparable injury in the interim. Butnaru v. Ford Motor Co., 84 S.W.3d 198, 204 (Tex. 2002).

     176.      As the Texas Supreme Court has stated in Walling v. Metcalfe, 863 S.W.2d 56, 58

(Tex. 1993):

         The decision to grant or deny a temporary writ of injunction lies in the sound discretion of
the trial court, and the court's grant or denial is subject to reversal only for a clear abuse of that
discretion. At the hearing for a temporary writ of injunction, the applicant is not required to
establish that she will prevail on final trial; the only question before the trial court is whether the
applicant is entitled to preservation of the status quo pending trial on the merits.

     177.      In the context of an injunction, the status quo is defined as "the last, actual,

peaceable, non-contested status that preceded the pending controversy." In re Newton, 146 S.W.3d

648, 651 (Tex. 2004); Intercontinental Terminals Co., LLC v. Vopak N. Am., Inc., 354 S.W.3d

887, 892 (Tex. App.—Houston [1st Dist.] 2011, no pet.).

     178.      In a Texas Whistleblower Act case in which a plaintiff seeks a temporary

injunction, preserving the status quo means restoring the plaintiff to the position the plaintiff held

before the allegedly retaliatory act. City of Galveston v. Humphrey, 2001 Tex. App. LEXIS 1365

*8 (Tex. App. – Houston [1st Dist.] 2001, no pet.).

          B.   Plaintiffs Have a Probable Right to Recovery.

     179.      To establish a claim under the Texas Whistleblower Act, a plaintiff must plead: (1)

that he was a public employee, (2) that he reported what he in good faith believed was a violation



                                                  53
       Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 55 of 130




of law committed by his employing governmental entity or another public employee, (3) that the

report was made to what the employee in good faith believed was an appropriate law enforcement

authority, and (4) that his employing governmental entity took an adverse personnel action against

him because of the report. TEX. GOV’T CODE §554.001 et. seq.; Tex. Dep’t. of Human Servs. v.

Okoli, 440 S.W.3d 611, 614 (Tex. 2014); Resendez v. Tex. Comm’n on Envtl. Quality, 391 S.W.3d

312, 322 (Tex. App. – Austin 2012, reversed on other grounds).

     180.      As described in the foregoing verified recitation of the facts and as will be

demonstrated in the hearing on this motion, Plaintiffs have a probable right of recovery.

     181.      All of the Plaintiffs were public employees employed by the Office of the Attorney

General of the State of Texas, which is a state governmental entity and unit of the State of Texas.

     182.      Each of the Plaintiffs formed a good faith belief that Paxton in his official duties

for OAG, OAG itself, and other employees Paxton enlisted either wittingly or unwittingly, violated

laws regarding bribery, tampering with government records, obstruction of justice, harassment,

and abuse of office by using OAG’s and Paxton’s extraordinary influence and power to aid

Paxton’s close friend and donor and to attack the friend and donor’s criminal investigators and

civil adversaries as described in detail above.

     183.      On September 30, 2020, each of the Plaintiffs in good faith made reports to law

enforcement authorities of suspected violations of criminal law by the OAG and by Paxton.

     184.      On October 1, 2020, OAG and Paxton learned of Plaintiffs’ good faith reports to

law enforcement because seven of the eight OAG whistleblowers, including Plaintiffs Brickman,

Penley and Vassar, signed and sent to the OAG’s Director of Human Resources a letter notifying

OAG of their good faith report to an appropriate law enforcement authority of suspected violations

of law committed by Paxton and OAG. Plaintiff Maxwell did not sign the October 1 letter but sent



                                                  54
       Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 56 of 130




a separate written notice to Human Resources regarding his good faith whistleblower report to an

appropriate law enforcement authority.

     185.      OAG and Paxton learned of Plaintiffs’ good faith reports on October 1, 2020, and

took the adverse employment actions with knowledge of them. Each of the acts of retaliation

alleged, including the termination of all of the Plaintiffs, occurred within 90 days of their reports

to law enforcement. Thus, under Texas law, there is a presumption that the OAG took these adverse

employment actions because the Plaintiffs made their reports to law enforcement. TEX. GOV’T

CODE §554.004(a).

     186.      Even without the applicability of the presumption, Plaintiffs are likely to succeed

on the merits of establishing a causal connection between their reports to law enforcement and the

termination of their employment and other retaliation by OAG.

     187.      Circumstantial evidence can be sufficient to establish a causal link between the

adverse employment action and the reporting of illegal conduct. Tex. Dep't of Criminal Justice v.

McElyea, 239 S.W.3d 842, 855-56 (Tex. App.—Austin 2007, pet. denied). Such evidence

includes (1) knowledge of the report of illegal conduct, (2) expression of a negative attitude toward

the employee's report of the conduct, (3) failure to adhere to established company policies

regarding employment decisions, (4) discriminatory treatment in comparison to similarly situated

employees, and (5) evidence that the stated reason for the adverse employment action was

false. Id. A plaintiff need not present evidence involving all five categories to prove

causation. See Continental Coffee Prods. Co. v. Cazarez, 937 S.W.2d 444, 452 (Tex. 1996).

     188.      The evidence is overwhelming that OAG retaliated against Plaintiffs because of

their reports to law enforcement. For example, on October 2, one day after the letter to OAG

Human Resources, Plaintiffs Penley and Maxwell were placed on “investigative leave” at the



                                                 55
        Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 57 of 130




direction of Paxton. OAG disabled their email accounts and building access badges. Paxton and

the OAG refused to tell Penley or Maxwell what was being investigated or whether they were

accused of wrongdoing.

     189.       On Saturday, October 3 and Monday October 5, the OAG Communications

Department issued public statements that were false and misleading and that were intended to

intimidate and retaliate against whistleblowers, including the Plaintiffs. For example, in official

OAG statements on October 3 and 5, 2020 directly related to Plaintiffs’ reports to law enforcement,

OAG referred to the Plaintiffs as “rogue employees” and accused Plaintiffs of making “false

reports” to law enforcement. OAG also accused Plaintiffs publicly of making their reports to law

enforcement “to impede an ongoing investigation into criminal wrongdoing by public officials

including employees of this office.” OAG also threatened Plaintiffs by stating publicly in regard

to their reports to law enforcement that “making false claims is a very serious matter and we plan

to investigate this to the fullest extent of the law.”

     190.       On Monday, October 5, OAG retaliated further against Plaintiff Brickman by

removing responsibilities and authority. For example, on Monday October 5, Plaintiff Brickman

was abruptly dismissed from a legislative meeting with Attorney General Paxton. The manner in

which Plaintiff Brickman was dismissed from the meeting suggests a motive to intimidate and

retaliate and send a message to Brickman and to others that whistleblowing would be punished.

Also on October 5, the OAG’s new First Assistant, Brent Webster, arrived at Brickman’s office

escorted by an armed peace officer in a manner calculated to intimidate and retaliate against

Plaintiff Brickman. About thirty minutes later, First Assistant Webster instructed Brickman,

contrary to any policy and contrary to normal practice for all other employees, to take his cell

phone to his car and leave it there. Still on Monday, October 5, Brickman learned that Paxton’s



                                                   56
       Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 58 of 130




scheduler, a position that reported to Brickman, had been replaced without any involvement by

Brickman.

     191.      On October 7, 2020, OAG issued a public statement falsely insinuating that Vassar

had approved of the hiring of a so-called “special prosecutor” to investigate a federal magistrate

judge, and federal and state prosecutors.

     192.      On October 19, Plaintiff Vassar was placed on leave for investigative reasons.

Plaintiff Vassar learned of the leave at a meeting OAG First Assistant Webster called and during

which Webster posted an armed guard just outside the open door to Webster’s office. Webster

refused to answer when Plaintiff Vassar asked why he was being investigated. Webster would only

say the investigation was “open-ended.” OAG had Plaintiff Vassar escorted from the building by

the armed guard in front of his colleagues and coworkers in what was an effort intended to demean

and intimidate Vassar and send a message of warning to other actual or would-be whistleblowers.

     193.      On October 20, 2020, OAG fired Plaintiff Brickman. That same day, OAG fired

Lacey Mase, who was one of the 7 signers of the October 1 whistleblower letter.

     194.      On October 26, 2020, Darren McCarty, one of the signers of the October 1

whistleblower letter resigned. On October 28, 2020, another signatory, Ryan Bangert, resigned.

     195.      On November 2, 2020, OAG fired Plaintiff Maxwell and Plaintiff Penley.

     196.      On November 17, 2020, OAG fired Plaintiff Vassar.

     197.      By November 17, 2020, four of the seven signers of the October 1 whistleblower

letter had been fired, and the other three had resigned. In addition, Plaintiff Maxwell, who did not

sign the October 1 letter but communicated separately that he had made a report to law

enforcement, had also been fired – all within seven (7) weeks of their good faith reports to law

enforcement.



                                                57
        Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 59 of 130




     198.      In addition, OAG’s conduct toward Plaintiffs failed to adhere to its established

policies and processes regarding employment decisions. For example, an armed guard was used to

try to intimidate some of the Plaintiffs. Plaintiff Brickman was instructed, contrary to OAG policy,

to take his cell phone to his car and leave it there. Plaintiff Brickman was also stripped of authority

and responsibilities. Some of Plaintiffs were placed on investigative leave without explanation

and in contravention OAG policy and practice.

       C.      Plaintiffs Can Show Probable, Imminent, Irreparable Harm.

     199.      An injury is irreparable if the injured party cannot be adequately compensated in

damages or if the damages cannot be measured by any certain pecuniary standard. Butnaru v. Ford

Motor Co., 84 S.W.3d 198, 204 (Tex. 2002). The Texas Whistleblower Act expressly provides for

injunctive relief as a remedy. TEX. GOV’T CODE §554.003(a)(1).

     200.      An adequate remedy at law is one that is “as complete, practical, and efficient to

the prompt administration of justice as is equitable relief.” Intercontinental Terminals Co., LLC v.

Vopak N. Am., Inc., 354 S.W.3d 887, 895 (Tex. App.—Houston [1st Dist.] 2011, no pet.)(emphasis

added). “Thus, if damages do not provide as complete, practical and efficient a remedy as may be

had by injunctive relief, the trial court does not err in granting temporary injunction so long as the

other elements of injunctive relief are satisfied.” Id.

     201.      Threatened injury to reputation and good will are frequently the basis for temporary

injunctive relief. Id. (citing Lifeguard Benefit Servs. v. Direct Med. Network Solutions, Inc., 308

S.W.3d 102, 118; Frequent Flyer Depot, Inc. v. Am. Airlines, Inc., 281 S.W.3d 215, 228 (Tex.

App.—Fort Worth 2009, pet. denied); T-N-T Motorsports, Inc. v. Hennessey Motorsports, Inc.,

965 S.W.2d 18, 24 (Tex. App.—Houston [1st Dist.] 1998, pet. dism'd); Townson v. Liming, No.

06-10-00027-CV, 2010 Tex. App. LEXIS 5459, 2010 WL 2767984, at *2-3 (Tex. App.—



                                                  58
         Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 60 of 130




Texarkana July 14, 2010, no pet.) (mem. op.); Lionheart Co., Inc. v. PGS Onshore, Inc., No. 10-

06-00303-CV, 2007 Tex. App. LEXIS 4628, 2007 WL 1704906, at *2 (Tex. App.—Waco June

13, 2007, no pet.) (mem. op.); RenewData Corp. v. Strickler, No. 03-05-00273-CV, 2006 Tex.

App. LEXIS 1689, 2006 WL 504998, at *15-16 (Tex. App.—Austin Mar. 3, 2006, no pet.) (mem.

op.).

        202.   Also, “[i]f damages cannot compensate for any wrong committed by [the

defendant], or if the damages are not measurable by any certain pecuniary standard, then the injury

is irreparable and the injunction should issue.” Townson v. Liming, No. 06-10-00027-CV, 2010

Tex. App. LEXIS 5459, at *8-9 (Tex. App.—Texarkana July 14, 2010, no pet.). “Certain” means

“fixed, settled, and indisputable.” Id. The value of “lost business contacts and collaborations” and

lost employment opportunities are “anything but fixed, settled, and indisputable.” Id.

        203.   In addition, the Texas Whistleblower Act expressly provides reinstatement as a

remedy for a retaliatory termination. TEX. GOV’T CODE §554.003(a)(1). The Legislature has

therefore acknowledged that money damages alone cannot in some situations remedy a retaliatory

discharge of a whistleblower.

        204.   Money damages alone cannot adequately remedy the retaliatory discharges and

other retaliatory actions in this case. OAG’s retaliation consists of firing and publicly accusing

Plaintiffs of serious personal and professional misconduct in a manner likely to foreclose other

professional opportunities. By way of example, OAG retaliated against Plaintiffs by publicly

accusing Plaintiffs, all of whom are either lawyers or law enforcement officials, of making false

reports to law enforcement and doing so to interfere with an OAG investigation. The harm to

Plaintiffs from losing their jobs in this highly public and disparaging way will be exacerbated by

continued unemployment and will be avoided or mitigated in significant respect by reinstatement



                                                59
        Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 61 of 130




to their positions. The kind of harm being inflicted on Plaintiffs by remaining terminated from

their positions at OAG under these circumstances is extremely difficult if not impossible to

measure by a certain pecuniary standard.

     205.       In addition, the retaliation by OAG and Plaintiffs’ loss of employment will cause

continued harm such as loss of reputation and goodwill in their professions unless a temporary

injunction is issued reinstating them to their jobs. Plaintiffs have demonstrated that, without a

temporary injunction, they will suffer loss of goodwill and reputation with other lawyers, OAG

colleagues, potential clients and others in their industry and that such injury is difficult to calculate

or monetize. Plaintiffs, whose careers have consisted largely of public service legal and law

enforcement positions, are particularly susceptible to the kind of harm the retaliation by the OAG

inflicts on them while they remain terminated. This loss of goodwill and reputation constitutes

irreparable injury.

     206.       In addition, an injury is irreparable if it cannot be adequately remedied at law – i.e.,

if the applicant cannot be adequately compensated in damages or if damages are very difficult to

measure by any certain pecuniary standard. Many of the kinds of damages Plaintiffs seek in this

case will be very difficult to measure by a pecuniary standard. Plaintiffs, if they prevail, may be

awarded, emotional pain, suffering, inconvenience, mental anguish, loss of enjoyment of life,

injury to their reputation, and loss of future earning capacity associated with being terminated

abruptly and with the public smearing of Plaintiffs by OAG. An injunction ordering reinstatement

pending trial could lessen many of these kinds of harm, which are very difficult to measure by any

certain pecuniary standard.




                                                   60
       Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 62 of 130




     207.      In addition, reinstating Plaintiffs pending trial will mitigate the chilling effect that

OAG’s retaliation and public statements have had and will have continue to have on witnesses,

including both present and former OAG employees.

     208.      In addition, the delay that will be occasioned by OAG’s interlocutory appeal or

other procedural tactics will prevent a legal remedy or reinstatement upon final judgment from

providing an adequate remedy.

     209.      All of the harm described above that Plaintiffs would sustain without temporary

injunctive relief is imminent. The harm is in fact happening already, and this injunction seeks to

avoid further injury in the interim between the issuance of this order and entry of final judgment.

     210.      For these reasons, Plaintiffs seek a temporary injunction decreeing that Defendant

Office of the Attorney General of the State of Texas, and its officers, agents, servants, employees,

and attorneys and those acting in active concert or participation with them who receive actual

notice of the order by personal service or otherwise be ORDERED:



        1.      To immediately REINSTATE Plaintiff David Maxwell to the position of Director
of the Law Enforcement Division in the OAG and to compensate him starting immediately by
paying him at the rate of pay and level of benefits, including health care and retirement benefits
and all other perquisites of employment as were in effect as of September 30, 2020;

        2.      To immediately REINSTATE Plaintiff Ryan M. Vassar to the position of Deputy
Attorney General for Legal Counsel at the OAG and to compensate him starting immediately by
paying him at the rate of pay and level of benefits, including health care and retirement benefits
and all other perquisites of employment as were in effect as of September 30, 2020;

         3.     To RETAIN Plaintiffs Maxwell and Vassar in those positions of employment at
that rate of pay and benefits, including any pay or benefits increases, but not decreases, that would,
in the ordinary course of the affairs of the OAG, be provided to employees in such Plaintiff’s
position, except that Defendant may terminate a Plaintiff’s employment if, and only if, Defendant
obtains an order from this Court for good cause found after written motion, notice to Plaintiffs,
and a hearing;

       4.      To REFRAIN from any retaliation against the reinstated Plaintiffs, and


                                                 61
       Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 63 of 130




      5.       To PRESERVE and not DESTROY any potentially relevant evidence including
any materials pertaining to contacts between the OAG and:

                      Nate Paul or any entity in which he holds an interest, and any of his or their
                       attorneys or agents;

                      Any federal investigations or inquiries including from the FBI, DOJ, or
                       other law enforcement pertaining to the conduct complained of by
                       Plaintiffs;

                      Any investigations or inquiries including from the Travis County DA’s
                       office, the Texas Rangers/DPS, or other law enforcement pertaining to the
                       conduct complained of by Plaintiffs;

                      Any open records requests relating to any of the issues in the case; and

       6.      To grant such other injunctive relief as the Court may deem appropriate.

                                           VI.     Jury Demand

     211.      Having tendered the appropriate fee, Plaintiffs hereby demand a trial by jury.

                                           VII.   Attorneys’ Fees

     212.      Plaintiffs have retained the undersigned attorneys to prosecute this case and seek to

be awarded their reasonable and necessary attorneys’ fees and costs of court.

                                            VIII. Civil Penalty

     213.      Pursuant to TEX. GOV’T CODE §554.008(a), Plaintiffs hereby request the District

Attorney of Travis County, Texas to intervene in this suit and seek the imposition of a civil penalty

of $15,000 against any supervisor, including Ken Paxton and Brent Webster, for each adverse

personnel action taken against any Plaintiff in violation of the Texas Whistleblower Act.

                                     IX.      Request for Disclosure

     214.      Under Texas Rule of Civil Procedure 194, Plaintiffs previously requested that

Defendant disclose, within fifty (50) days of the service of that request, the information and

materials described in Rule 194.2(a) through (l). Defendant has failed to comply with this request

and with Rule 194.

                                                  62
        Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 64 of 130




                                 X.      Damages, Conclusion and Prayer

                Plaintiffs respectfully request that they have judgment against Defendants for:

        1.      A temporary injunction as described in Section V. herein;

        2.      A permanent injunction ordering reinstatement of Plaintiffs Maxwell and Vassar

and all other equitable relief to which Plaintiffs may be entitled;

        3.      Actual damages;

        4.      Compensation for wages lost during the period of suspension or termination,

including back pay and lost benefits;

        5.      Compensatory damages for future pecuniary losses, emotional pain, suffering,

inconvenience, mental anguish, loss of enjoyment of life, and other nonpecuniary losses, including

injury to Plaintiffs’ reputations;

        6.      Recovery for future lost earning capacity;

        7.      Injunctive relief ordering Plaintiffs reinstated to their former positions or equivalent

positions;

      8.        Exemplary damages;

      9.        Reasonable attorneys’ fees for prosecution of this case at trial and on appeal;

      10.       All costs of expert witnesses and other costs of litigation;

      11.       Pre-judgment interest as required by Chapter 304 of the Texas Finance Code or

                other applicable laws;

      12.       Post-judgment interest at the maximum legal rate; and

      13.       All other relief to which Plaintiffs may be entitled at law, or in equity.




                                                  63
       Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 65 of 130




Respectfully submitted,

 /s/ Thomas A. Nesbitt                  /s/ Carlos R. Soltero
 Thomas A. Nesbitt                      Carlos R. Soltero
   State Bar No. 24007738                 State Bar No. 00791702
   tnesbitt@dnaustin.com                  carlos@ssmlawyers.com
 Scott F. DeShazo                       Matthew Murrell
   State Bar No. 24011414                 State Bar No. 24083545
   sdeshazo@dnaustin.com                  matthew@ssmlawyers.com
 Laura J. Goodson                       Gregory P. Sapire
   State Bar No. 24045959                 State Bar No. 00791601
   lgoodseon@dnaustin.com                 greg@ssmlawyers.com
 DeShazo & Nesbitt L.L.P.               Soltero Sapire Murrell PLLC
 809 West Avenue                        7320 N Mopac Suite 309
 Austin, Texas 78701                    Austin, Texas 78731
 512/617-5560                           512-422-1559 (phone)
 512/617-5563 (Fax)                     512-359-7996 (fax)

 /s/ T.J. Turner                        ATTORNEYS FOR PLAINTIFF
 T.J. Turner                            DAVID MAXWELL
   State Bar No. 24043967
   tturner@cstrial.com
 Cain & Skarnulis PLLC
 400 W. 15th Street, Suite 900
 Austin, Texas 78701
 512-477-5000
 512-477-5011—Facsimile

 ATTORNEYS FOR PLAINTIFF
 JAMES BLAKE BRICKMAN

  /s/ Don Tittle                        / s / Joseph R. Knight
 Don Tittle                             Joseph R. Knight
   State Bar No. 20080200                 State Bar No. 11601275
 Roger Topham                             jknight@ebbklaw.com
   State Bar No. 24100557               Ewell Brown Blanke & Knight LLP
   roger@dontittlelaw.com               111 Congress Ave., 28th floor
 Law Offices of Don Tittle              Austin, TX 78701
 6301 Gaston Avenue, Suite 440          Telephone: 512.770.4010
 Dallas, Texas 75214                    Facsimile: 877.851.6384
 (214) 522-8400
 (214) 389-1002 (fax)                   ATTORNEYS FOR PLAINTIFF RYAN
                                        M. VASSAR
 ATTORNEYS FOR PLAINTIFF J.
 MARK PENLEY



                                      64
       Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 66 of 130




                               CERTIFICATE OF SERVICE

       I certify the foregoing document has been served on the following counsel of record via
email on the 10th day of February, 2021:

              William S. Helfand
              bill.helfand@lewisbrisbois.com
              Sean O’Neal Braun
              sean.braun@lewisbrisbois.com
              24 Greenway Plaza, Suite 1400
              Houston, Texas 77046


                                            /s/ Thomas A. Nesbitt
                                            Thomas A. Nesbitt




                                               65
        Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 67 of 130



                                     CAUSE NO. D-1-GN-20-006861

 JAMES BLAKE BRICKMAN,                                 §     IN THE DISTRICT COURT OF
 DAVID MAXWELL,                                        §
 J. MARK PENLEY, and                                   §
 RYAN M. VASSAR                                        §
 Plaintiffs,                                           §
                                                       §
 v.                                                    §     TRAVIS COUNTY, TEXAS
                                                       §
 OFFICE OF THE ATTORNEY GENERAL                        §
 OF THE STATE OF TEXAS                                 §
                                                       §
                                                       §
 Defendant.                                                  250th JUDICIAL DISTRICT

                                  Declaration of James Blake Brickman

        1.       My name is James Blake Brickman. I am over the age of eighteen years, am of sound mind

and capable of making this Declaration. I have personal knowledge of the facts stated in this Declaration,

and they are true and correct.

        2.       The facts plead in paragraphs 1,2,6,17-19,21-25, 28-32, 81-91, 93-96, 104, 107, 108, 111-

119, 121-131, 133, 139-149, 156, 161, 162 of the foregoing Plaintiffs’ Second Amended Petition and

Verified Motion for Temporary Injunction and Permanent Injunction are within my personal knowledge

and are true and correct or, where specifically noted, are based upon published reports. I hereby attest that

the facts plead in paragraphs 42-54 of the foregoing Plaintiffs’ First Amended Petition and Verified Motion

for Temporary Injunction and Permanent Injunction are true and correct because they were reported to me

by individuals I have reason to believe had personal knowledge and based on the documents referred to.

        3.       My name is James Blake Brickman, my date of birth is              , and my address is

                                   . Pursuant to TEX. CIV. PRAC. & REM. CODE § 132.001, I declare under

penalty of perjury that the foregoing is true and correct.

        Executed in Travis County, State of Texas, on the 9th day of February, 2021


                                                   /s/ James Blake Brickman
                                                   James Blake Brickman


                                                      66
DocuSign Envelope ID: 62B0A93B-ABAF-485F-BDE3-D2AE48FB2A20
                    Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 68 of 130




                                               CAUSE NO. D-1-GN-20-006861

             JAMES BLAKE BRICKMAN,                              §   IN THE DISTRICT COURT OF
             DAVID MAXWELL,                                     §
             J. MARK PENLEY, and                                §
             RYAN M. VASSAR                                     §
             Plaintiffs,                                        §
                                                                §
             v.                                                 §   TRAVIS COUNTY, TEXAS
                                                                §
             OFFICE OF THE ATTORNEY GENERAL                     §
             OF THE STATE OF TEXAS                              §
                                                                §
                                                                §
             Defendant.                                         §   250th JUDICIAL DISTRICT

                                                Declaration of David Maxwell

                    1.       My name is David Maxwell. I am over the age of eighteen years, am of sound mind

            and capable of making this Declaration. I have personal knowledge of the facts stated in this

            Declaration, and they are true and correct.

                    2.       The facts plead in paragraphs 3, 58-62, 64-65, 81-100, 102-106, 108-110, 121, 128,

            150, 152, 154-155, 159, 181-186, 188-89, 195, and 197 of the foregoing Plaintiffs’ Second

            Amended Petition and Verified Motion for Temporary Injunction and Permanent Injunction are

            within my personal knowledge and are true and correct or, where specifically noted, are based

            upon published reports.

                    My name is David Maxwell, my date of birth is              , and my address is

                                                . Pursuant to TEX. CIV. PRAC. & REM. CODE § 132.001, I declare

            under penalty of perjury that the foregoing is true and correct.

                    Executed in Matagorda County, State of Texas, on February 9, 2021.


                                                             ____ ______________________________
                                                             David Maxwell
Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 69 of 130
Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 70 of 130




                                                               EX. 1
Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 71 of 130
Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 72 of 130
Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 73 of 130
Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 74 of 130
Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 75 of 130
Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 76 of 130
Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 77 of 130
Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 78 of 130
Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 79 of 130
Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 80 of 130
Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 81 of 130
Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 82 of 130
Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 83 of 130
Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 84 of 130
Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 85 of 130
Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 86 of 130
Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 87 of 130
        Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 88 of 130
                                                                                   1/31/2020 8:38 AM
                                                                                                    Velva L. Price
                                                                                                   District Clerk
                                                                                                   Travis County
                                  CAUSE NO. D-1-GN-18-007636                                    D-1-GN-18-007636
                                                                                                     Gilberto Rios




                                                                                             e
 THE ROY F & JOANN COLE MITTE                      §                IN THE DISTRICT COURT OF




                                                                                          ic
 FOUNDATION,                                       §




                                                                                        Pr
    Plaintiff,                                     §
                                                   §
 V.                                                §




                                                                                   L.
                                                   §                   TRAVIS COUNTY, TEXAS
 WC 1st AND TRINITY, LP, WC 1st AND                §




                                                                                a
 TRINITY GP, LLC, WC 3rd AND                       §




                                                                             lv
 CONGRESS, LP AND WORLD CLASS                      §




                                                                        Ve
 CAPITAL GROUP, LLC                                §                   126TH JUDICIAL DISTRICT




                                                                   k
                               ATTORNEY GENERAL’S WAIVER




                                                                er
 TO THE HONORABLE JUDGE OF SAID COURT:




                                                            Cl
        NOW COMES Ken Paxton, Attorney General for the State of Texas (referred to herein as

                                                        ct
 the “Attorney General”), and files this Waiver in he above-referenced cause of action and
                                                    tri
 respectfully shows the Court as follows:
                                                 is
                                            .D


                                                  I.
        Pursuant to §123.002 of the Texas Property Code and the common law, the Attorney
                                         Co




 General is a proper party and may intervene in a proceeding involving a charitable trust on behalf
                                  is




 of the interest of the general public
                              av




                                                  II.
                          Tr




        Based upon the pleadings that have been provided to him to date, the Attorney General has
                   y
                 op




 determined not to intervene and by this Waiver declines in writing to be a party to the proceeding
             lc




 in its current state, pursuant to §123.004(b)(1) of the Property Code. Accordingly, the Attorney
         ia




 General waives further notice of the proceedings in this case as it is currently constituted.
      fic




                                                 III.
  of




        If any pleading is filed herein that adds additional parties or causes of action, such pleading
Un




 would constitute a new or additional proceeding involving a charitable trust, which will require

 additional notice to the Attorney General pursuant to §123.003 of the Property Code. This Waiver


                                                                                              EX. 3
         Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 89 of 130




 is not intended to constitute a declination in writing to be a party to any such new proceeding.




                                                                                           e
                                       Respectfully submitted,




                                                                                        ic
                                       KEN PAXTON




                                                                                      Pr
                                       Attorney General of Texas




                                                                                  L.
                                       JEFFREY C. MATEER
                                       First Assistant Attorney General




                                                                              a
                                                                           lv
                                       DARREN L. McCARTY




                                                                      Ve
                                       Deputy Attorney General for Civil Litigation

                                       JOSHUA R. GODBEY




                                                                    k
                                       Division Chief




                                                                 er
                                       Financial Litigation and Charitable Trusts Division




                                                            Cl
                                       /s/ Cathleen M. Day_______
                                       Cathleen M. Day
                                                       ct
                                       Assistant Attorney General
                                                   tri
                                       State Bar No. 24105783
                                       Financial Litigation and Charitable Trusts Division
                                                is

                                       P.O. Box 12548
                                           .D


                                       Austin, Texas 78711-2548
                                       (512) 463-9507 - Direct Line
                                       (512) 477-2348 - Fax
                                      Co




                                       cathleen.day@oag.texas.gov
                                 is
                             av




                                   CERTIFICATE OF SERVICE
        I hereby certify that a true and correct copy of the foregoing Attorney General’s Waiver
 was served on January 31, 2020, via e-service to the following:
                             Tr




 Ray C. Chester                                      Edward F. Fernandes
                    y




 Michael A. Shaunessy                                Katherine Stein
                  op




 MCGINNIS LOCHRIDGE, LLP                             KING & SPALDING, LLP
 600 Congress Ave , Ste. 2100                        500 W. 2nd St., Ste. 1800
             lc




 Austin, TX 78701                                    Austin, TX 78701
 rchester@mcginnislaw.com                            efernandes@kslaw.com
        ia




 mshaunessy@mcginnislaw.com                          kstein@kslaw.com
     fic
  of




                                       /s/ Cathleen M. Day_______
                                       Cathleen M. Day
Un




 Attorney General’s Waiver                                                                Page 2 of 2
          Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 90 of 130




                                                                                                                                          e
                                                                                                                                       ic
                                                                                                                                     Pr
                                                              January 31, 2020




                                                                                                                              L.
  Velva L. Price
  Travis County District Clerk




                                                                                                                       a
  P.O. Box 1748




                                                                                                                    lv
  Austin, TX 78767




                                                                                                            Ve
          Re:       Cause No. D-1-GN-18-007636; The Roy F. & Joann Cole Mitte Foundation v. WC
                    1st and Trinity, LP, WC 1st and Trinity GP, LLC, WC 3rd and Congress, LP and




                                                                                                    k
                    World Class Capital Group, LLC; In the 126th Judicial District Court of Travis




                                                                                                 er
                    County, Texas; Attorney General’s Waiver




                                                                                          Cl
 Dear Ms. Price:

                                                                                   ct
          The following pleadings have been received by this office relating to the above-referenced
                                                                             tri
 cause:
                    Plaintiff’s Original Petition;
                                                                       is

                •
                •   Plaintiff’s Third Amended Original Petition;
                                                               .D


                •   Defendants’ Memorandum on Remand for Determination of Adequacy of
                    Supersedeas or Other Order under Tex. R. App. P.24;
                                                       Co




                •   Order Appointing Rece ver;
                •   Applicant’s Notice of Filing of Applicant’s Bond;
                •   Bond Securing Appointment of Receiver;
                                                is




                •   Receiver’s Interim Report; and
                                         av




                •   Receiver’s Quarterly Report for the Period December 10, 2019 to December 31,
                    2019.
                                   Tr




         This Waiver is a waiver of the right to intervene in this case only as it is currently
                        y




 constituted. If any pleading is filed herein that adds additional parties or causes of action, such
                      op




 pleading will cons itute a new or additional proceeding involving a charitable trust, which will
 require additiona notice to the Attorney General pursuant to §123.003 of the Property Code. This
                lc




 Waiver is not intended to constitute a declination in writing to be a party to any such new
 proceeding.
        ia
     fic




 Sincerely
  of




 /s/ Cathleen M. Day_______
 Cathleen M. Day
Un




 Assistant Attorney General
 State Bar No. 24105783
 Financial Litigation and Charitable Trusts Division
 P.O. Box 12548

             P os t Of fic e Bo x 12548 , Aust in, Tex a s 7 8 7 1 1 - 2 5 4 8 • (5 1 2) 4 6 3 - 2 1 0 0 • www. texa satto r neyg ene ral .gov
         Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 91 of 130
 Velva L. Price
 Cause No. D-1-GN-18-007636
 January 31, 2020
 Page 2 of 2




                                                                               e
 Austin, Texas 78711-2548




                                                                            ic
 (512) 463-9507 - Direct Line
 cathleen.day@oag.texas.gov




                                                                          Pr
 CMD/did




                                                                         L.
 Enclosure




                                                                      a
  cc:    Ray C. Chester                      Edward F. Fernandes




                                                                   lv
         Michael A. Shaunessy                Katherine Stein




                                                              Ve
         MCGINNIS LOCHRIDGE, LLP             KING & SPALDING, LLP
         600 Congress Ave., Ste. 2100        500 W. 2nd St., Ste. 1800
         Austin, TX 78701                    Austin, TX 78701




                                                          k
         rchester@mcginnislaw.com            efernandes@kslaw.com




                                                       er
         mshaunessy@mcginnislaw.com          kstein@kslaw.com




                                                   Cl
                                               ct
                                             tri
                                         is
                                        .D
                                   Co
                                is
                              av
                         Tr
                   y
                 op
             lc
           ia
        fic
  of
Un
          Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 92 of 130
                                                                                    6/8/2020 4:35 PM
                                                                                                    Velva L. Price
                                                                                                   District Clerk
                                                                                                   Travis County
                                  CAUSE NO. D-1-GN-18-007636                                    D-1-GN-18-007636
                                                                                                   Chloe Jimenez




                                                                                            e
 THE ROY F & JOANN COLE MITTE                      §               IN THE DISTRICT COURT OF




                                                                                         ic
 FOUNDATION,                                       §




                                                                                       Pr
   Plaintiff,                                      §
                                                   §
 v.                                                §




                                                                                   L.
                                                   §                   TRAVIS COUNTY, TEXAS
 WC 1st AND TRINITY, LP, WC 1st AND                §




                                                                               a
 TRINITY GP, LLC, WC 3rd AND                       §




                                                                            lv
 CONGRESS, LP AND WORLD CLASS                      §




                                                                       Ve
 CAPITAL GROUP, LLC                                §                   126TH JUDICIAL DISTRICT
                                                   §
      Defendants.                                  §




                                                                   k
                                                   §




                                                                er
                                                            Cl
                    ATTORNEY GENERAL'S PETITION IN INTERVENTION

 TO THE HONORABLE JUDGE OF SAID COURT:
                                                        ct
                                                    tri
          NOW COMES KEN PAXTON, Attorney General of Texas, on behalf of the public interest
                                                 is

 in charity, (“Attorney General”) and files this Petition in Intervention in the above-referenced
                                            .D


 cause, and would respectfully show the Court the following:
                                       Co




                                                   I.

          Pursuant to §123.002 of the Texas Property Code, the Attorney General is a proper party
                                  is
                              av




 and may intervene in a "proceeding involving a charitable trust." On December 11, 2019, The
                          Tr




 Attorney General received notice of the above-captioned case pursuant to §123.003 of the Texas

 Property Code, and subsequently filed the Attorney General’s Waiver of Intervention. The
                      y
                    op




 Attorney General recently received notice of a new cause of action filed in this matter. For and on
              lc




 behalf of the interest of the general public of this state in charitable trusts, the Attorney General
         ia




 hereby files this Petition in Intervention in this proceeding, pursuant to §123.002 of the Texas
      fic




 Property Code and Rule 60 of the Texas Rules of Civil Procedure.
  of




                                                 II.
Un




          The Attorney General’s presence in this matter is warranted to protect the interests of the

 public in the event that the public’s interest and the parties’ interests diverge. In addition, this

 litigation affects a substantial sum of charitable funds and involves the expenditure of these funds.

                                                                                             EX. 4
          Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 93 of 130




          The Attorney General specifically asserts his right to amend this Petition in Intervention as




                                                                                               e
 necessary to assert additional affirmative relief following his review of the complete pleadings and




                                                                                            ic
 the development of further information.




                                                                                          Pr
                                                     III.




                                                                                     L.
          The Attorney General has found it necessary to intervene in this proceeding to protect the




                                                                                     a
 public interest in charity. He requests that the Court award reasonable and necessary attorney’s




                                                                                  lv
                                                                           Ve
 fees and costs as are equitable and just for services rendered by the Attorney General in accordance

 with §123.006(b) of the Texas Property Code.




                                                                       k
                                                                    er
                                                  PRAYER




                                                                Cl
          WHEREFORE, the Attorney General prays for such relief to which he may be entitled on

 behalf of the public interest in charity.
                                                            ct
                                                       tri
                                               Respectfully submitted,
                                                    is

                                               KEN PAXTON
                                                .D


                                               Attorney General of Texas
                                               Co




                                               JEFFREY C. MATEER
                                               First Assistant Attorney General
                                       is




                                               RYAN L. BANGERT
                                               Deputy First Assistant Attorney General
                                  av




                                               DARREN L. MCCARTY
                             Tr




                                               Deputy Attorney General for Civil Litigation
                      y
                    op




                                               /s/ Cathleen M. Day
                                               Joshua R. Godbey, Division Chief
               lc




                                               State Bar No. 24049996
                                               Cathleen M. Day, Assistant Attorney General
        ia




                                               State Bar No. 24105783
     fic




                                               Financial Litigation and Charitable Trusts Division
                                               P.O. Box 12548
  of




                                               Austin, Texas 78711-2548
                                               (512) 463-9507 Phone
Un




                                               (512) 477-2348 Fax
                                               joshua.godbey@oag.texas.gov
                                               cathleen.day@oag.texas.gov


 Attorney General’s Petition in Intervention
 Page 2 of 3
          Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 94 of 130




                                       CERTIFICATE OF SERVICE




                                                                                           e
                                                                                        ic
         I hereby certify that a true and correct copy of the foregoing Attorney General’s Petition
 in Intervention was served by e-service on June 8, 2020, to the following:




                                                                                      Pr
 Ray C. Chester                                          Terry L. Scarborough




                                                                                 L.
 Michael A. Shaunessy                                    V. Blayre Peña
 MCGINNIS LOCHRIDGE, LLP                                 HANCE SCARBOROUGH, LLP




                                                                                a
 600 Congress Ave., Ste. 2100                            400 W. 15th St., Ste. 950




                                                                             lv
 Austin, TX 78701                                        Austin, TX 78701




                                                                        Ve
 rchester@mcginnislaw.com                                tscarborough@hslawmail.com
 mshaunessy@mcginnislaw.com                              bpena@hslawmail.com




                                                                     k
 Stephen W. Lemmon




                                                                  er
 Rhonda B. Mates
 STREUSAND, LANDON, OZBURN &




                                                               Cl
 LEMMON, LLP
 1801 South Mopac, Ste. 320
 Austin, Texas 78746
                                                           ct
                                                       tri
 lemmon@slollp.com
 mates@slollp.com
                                                     is
                                                .D



                                                    /s/ Cathleen M. Day_______
                                               Co




                                                    Cathleen M. Day
                                       is
                                  av
                             Tr
                      y
                    op
               lc
        ia
     fic
  of
Un




 Attorney General’s Petition in Intervention
 Page 3 of 3
Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 95 of 130
Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 96 of 130
Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 97 of 130
          Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 98 of 130
                                                                                      9/30/2020 12:08 PM
                                                                                                        Velva L. Price
                                                                                                       District Clerk
                                                                                                       Travis County
                                       CAUSE NO. D-1-GN-18-007636                                   D-1-GN-18-007636
                                                                                                    Alexus Rodriguez
  THE ROY F. & JOANN COLE MITTE                         §             IN THE DISTRICT COURT OF




                                                                                                 e
  FOUNDATION,                                           §




                                                                                              ic
       Plaintiff,                                       §




                                                                                            Pr
                                                        §
  v.                                                    §                    TRAVIS COUNTY, TEXAS




                                                                                       L.
                                                        §
  WC 1st AND TRINITY, LP, WC 1st AND                    §




                                                                                  a
  TRINITY GP, LLC, WC 3rd AND                           §




                                                                               lv
  CONGRESS, LP AND WORLD CLASS                          §
  CAPITAL GROUP, LLC                                    §




                                                                         Ve
        Defendants.                                     §       IN THE 126TH JUDICIAL DISTRICT




                                                                      k
                  ATTORNEY GENERAL OF TEXAS’S NOTICE OF NONSUIT




                                                                   er
 TO THE HONORABLE JUDGE OF SAID COURT:




                                                               Cl
          NOW COMES KEN PAXTON, Attorney General of Texas, and in accordance with Texas

                                                            ct
 Rule of Civil Procedure 162, files this Notice of Nonsuit of his Petition in Intervention in the
                                                        tri
                                                    is

 above-referenced cause.
                                                   .D


          The Attorney General hereby gives notice to this Court that he is taking a nonsuit without
                                             Co




 prejudice of his Petition in Intervention which was brought for and on behalf of the interest of the

 general public of this state in charity, pursuant to Section 123.002 of the Texas Property Code.
                                        is
                                  av




 The Attorney General hereby notifies this Court and the parties that his nonsuit shall be effective
                              Tr




 immediately on its filing date.
                      y




                                                   Respectfully submitted,
                    op




                                                   KEN PAXTON
               lc




                                                   Attorney General of Texas
          ia




                                                   JEFFREY C. MATEER
                                                   First Assistant Attorney General
       fic




                                                   RYAN L. BANGERT
  of




                                                   Deputy First Assistant Attorney General
Un




 Mitte Foundation v. WC 1st and Trinity, et al./
 AG Notice of Nonsuit                                                                           Page 1 of 2
                                                                                                  EX. 5
          Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 99 of 130



                                                   DARREN L. McCARTY
                                                   Deputy Attorney General for Civil Litigation




                                                                                               e
                                                     /s/ Joshua R. Godbey




                                                                                            ic
                                                   Joshua R. Godbey, Division Chief




                                                                                          Pr
                                                   Assistant Attorney General
                                                   State Bar No. 24049996




                                                                                      L.
                                                   Financial Litigation and Charitable Trusts Division
                                                   Office of the Attorney General




                                                                                  a
                                                   P.O. Box 12548/Mail Stop 017




                                                                               lv
                                                   Austin, Texas 78711-2548
                                                   Telephone: (512) 475-4209




                                                                          Ve
                                                   Facsimile: (512) 477-2348
                                                   joshua.godbey@oag.texas gov




                                                                      k
                                                                   er
                                                   On behalf of the Public Interest in Charity




                                                               Cl
                                        CERTIFICATE OF SERVICE


                                                           ct
        I hereby certify that on September 20, 2020, the foregoing Attorney General’s Notice of
 Nonsuit was filed with the Clerk of this Court and served on all parties of record via
                                                        tri
 EFileTexas.gov efiling service:
                                                    is

 Ray C. Chester/Michael A. Shaunessy                     Terry L. Scarborough/V. Blayre Peña
                                                   .D


 McGinnis Lochridge, LLP                                 Hance Scarborough, LLP
 rchester@mcginnislaw.com                                tscarborough@hslawmail.com
                                             Co




 mshaunessy@mcginnislaw.com                              bpena@hslawmail.com

 Counsel for Plaintiff Mitte Foundation                  Wallace B. Jefferson/ Nicholas Bacarisse
                                        is




                                                         Alexander Dubose & Jefferson LLP
                                  av




 Stephen Lemmon/Rhonda B. Mates                          wjefferson@adjtlaw.com
 Streusand, Landon, Ozburn & Lemmon, LLP                 nbacarisse@adjtlaw.com
                              Tr




 lemmon@slollp.com
 mates@slollp.com                                        Counsel for Defendants
                      y
                    op




 Counsel for Receiver
                                                         Michael J. Wynne/Heather Martinez
               lc




                                                         Gregor Wynne Arney, PLLC
                                                         mwynne@gcfirm.com
         ia




                                                         hmartinez@gcfirm.com
      fic




                                                         Counsel for Super Majority Parties
  of
Un




                                                     /s/ Joshua R. Godbey
                                                   Joshua R. Godbey, Division Chief
                                                   Assistant Attorney General

 Mitte Foundation v. WC 1st and Trinity, et al./
 AG Notice of Nonsuit                                                                            Page 2 of 2
Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 100 of 130
Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 101 of 130
Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 102 of 130
Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 103 of 130
Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 104 of 130
Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 105 of 130
Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 106 of 130
Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 107 of 130
Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 108 of 130
Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 109 of 130
Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 110 of 130
Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 111 of 130
Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 112 of 130
Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 113 of 130
Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 114 of 130
Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 115 of 130
Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 116 of 130
Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 117 of 130
Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 118 of 130




                                                               EX. 7
Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 119 of 130
Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 120 of 130
Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 121 of 130
Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 122 of 130
Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 123 of 130
       Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 124 of 130



    These remedies include trying to push for foreclosure on the commercial properties when such legal
action was prohibited by orders of the City of Austin, Travis County, and the state of Texas.
    Our team conducted extensive investigation to unearth the circumstances behind these loan purchases
and the principals behind the anonymous LLC but were unable to find the details we sought through the
legal process while the anonymous lender LLC continued an aggressive litigation strategy against the
borrowers.
   However, that changed when I received a phone call from our lender on one of our properties in
downtown Austin. That lender is Alan Nalle.
     Alan Nalle called me on Wednesday, September 16th, to let me know of a phone call he received the
week prior from Bryan Hardeman. Bryan Hardeman disclosed to Alan Nalle that he had purchased 8
other loans on properties I owned, and that he wanted to acquire Alan Nalle’s loan on another one of our
properties. Alan told him he would only ever consider selling his loan if a buyer were to pay a large
premium, which would not make economic sense for a buyer since they would take a loss when we pay
off the loan if the buyer of the loan paid a premium. Bryan Hardeman proceeded to tell Mr. Nalle that he
would be willing to pay a premium because the property was worth so much more than the loan balance,
and if he bought the loan and proceeded to auction at foreclosure, that all proceeds would go to him as the
new loan owner.
     Mr. Nalle corrected Mr. Hardeman that he would technically only be allowed to collect on the loan
principal balance and unpaid interest in a scenario as he outlined, to which Mr. Hardeman disagreed. He
reiterated to Mr. Nalle that when he auctioned the property that he would retain all the proceeds –
essentially stating he believed he was buying “ownership” of these properties by solely buying the loans.
This raised a red flag to Mr. Nalle. Bryan Hardeman was very confident that he was correct in this
assertion and informed Alan Nalle that he was proceeding with this same strategy with the other loans he
had purchased.
    On this initial call, Bryan Hardeman continued to use the word “we” as he described the actions taken
to buy loans and pursue the strategy. Alan Nalle asked Bryan who is “we”, and his response was “my
family”. He told Alan Nalle that his son, Will Hardeman, was “running the deal” and that the capital
behind these loan purchases were “his family’s money”.
    Bryan Hardeman told Alan Nalle that he was “using a law firm out of Houston” to pursue these loan
purchases, which matched up with the lawyers that were representing the anonymous LLC Lenders:
lawyers from Bracewell’s Houston office and Mark Riley out of Houston. These anonymous LLC’s have
only ever presented Justin Bayne as the sole “business person” representing the LLC’s as Justin Bayne is
named as the sole Manager of the entities. The lawyers have gone to extreme efforts to conceal the
identity of the partners behind these anonymous LLC’s.
    Bryan Hardeman claimed to Alan Nalle on this call many times with pride that he had already
purchased approximately $43 million in loans. This amount is consistent with the total loan balances of
the 8 loans purchased by anonymous lender LLC’s,
    Bryan Hardeman made many additional disparaging comments about me that were all false to Alan
Nalle on this call to dissuade him from continuing to be my lender and as a motivation for him to sell his
loan to him. This is the same strategy he and his co-conspirators did in calling my other lenders where
they have purchased and/or attempted to purchase loans. Hardeman claimed to Alan Nalle that he learned
of some of these issues from Robert F. Smith, which we believe to be a false statement. He knowingly
       Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 125 of 130



made false statements to banks to induce them in to sell him loans on properties for him to undertake this
complex fraudulent scheme to steal the properties.
     Bryan Hardeman insinuated on this call with Alan Nalle that he was working on this loan purchase
strategy with Dilum Chandrasoma, the former President of the Mitte Foundation. On a call to Dani
Tristan, Bryan Hardeman stated he has been working with Ray Chester, the lawyer for the Mitte
Foundation.
    Bryan Hardeman said he was hoping that he would be happy to own the properties at the loan
purchase amounts or if someone bid it up to a high amount since he would make all the money someone
would pay in an auction – which is incorrect. Bryan Hardeman was steadfast that all the proceeds from
the sale of a property would go to him as the loan holder.
    I have a very strong relationship with Alan Nalle and he is a well-respected businessman in Austin.
Bryan Hardeman was unaware that Alan Nalle and I have a very good relationship of many years and that
Alan Nalle has been very pleased with us as a borrower. Alan Nalle called me after receiving this call
from Bryan Hardeman because he said the call was very strange and concerning. After he informed me of
the details of the call, he let me know that he would call me if he heard from Bryan Hardeman again. By
way of background, Alan Nalle has known Bryan Hardeman for over 50 years.
    On Friday, September 18th, I received another call from Alan Nalle. He called to let me know he
received another call from Bryan Hardeman that was very shocking.
     Bryan Hardeman called Alan Nalle as a follow up to their initial call and proceeded to tell him of his
real plan and his intentions in making these loan purchases and the details of his complex scheme. On this
call, Bryan Hardeman outlined the complex fraudulent scheme that he and his co-conspirators are actively
pursuing to take these properties involving all of the named subjects of this complaint.
    Bryan Hardeman called to let him know that in the Bankruptcy Court for the Western District of
Texas that the Bankruptcy Judge had dismissed the bankruptcy cases on 2 properties. These 2 properties
are 2 where the Mitte Foundation is a small limited partner and Gregory Milligan has been involved as a
receiver at Mitte’s direction.
     Bryan then told Alan Nalle that the bankruptcy judge for the US Courts system of the Western
District, Tony Davis, lives in Austin but has an apartment in Houston because his wife is undergoing a
lung transplant. Bryan told Alan that his lawyers in Houston are good friends with Judge Tony Davis and
that they have cut a “deal” with Judge Davis and have him on board with this elaborate scheme.
    According to Bryan Hardeman, his lawyers are going to move to consolidate the loans that he has
purchased in to a single bankruptcy case in Judge Davis’ court in the “coming week or two”. They will
then file a motion to appoint Gregory Milligan as a receiver/trustee over these properties to act at his
direction. According to Bryan Hardeman, this conspiracy and collusion between Hardeman, his lawyers,
and Milligan was proposed to Judge Tony Davis and that Judge Davis has told them that if they file such
actions, he would approve the motion and go along with their plan. This “side agreement” allegedly took
place in a meeting between his lawyers and Judge Davis in Houston.
     This “move”, as Bryan Hardeman calls it, is Hardeman’s grand plan to remove me from control of my
own properties by having Judge Tony Davis approve the insertion of Gregory Milligan. He then states
that Milligan is on board with his plan to let him move to auction the assets and steal the equity in the
properties in this orchestrated scheme. Bryan Hardeman stated to Alan Nalle that he and Gregory
Milligan have a coordinated effort for this plan.
       Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 126 of 130



    We have seen the anonymous lender LLC in one of the loans he has purchased (4th and Colorado)
make a motion to attempt to appoint Gregory Milligan as receiver over control of the property. However,
we put that property in to Chapter 11 bankruptcy to ward off the predatory lender. Hardeman’s scheme he
outlined to Nalle would entail him bringing Milligan in to the bankruptcy to work at his direction to
disadvantage and steal from the borrower.
     Bryan Hardeman then told Alan Nalle another shocking statement. Hardeman told Nalle that he has
previously foreclosed on loans to take back properties against other property owners where third-party
bidders showed up to purchase the properties. Hardeman said he had his lawyers present at the auctions to
talk to the third-party bidders and tell them to stop bidding on the loans because the Hardeman entities
were going to bid the loan amount to take ownership of the property at the loan balance and they would
then turn around and sell the property to the third party bidder at a price slightly lower than they would
pay in the legal foreclosure auction bid process. This highly illegal “rigged auction” process, coordinated
by Hardeman and his lawyers, is the reason he stated to Nalle on the previous call that he expects to be
the beneficiary of all sale proceeds when he auctions properties as a remedy. This is the strategy Bryan
Hardeman is pursuing in this fraudulent scheme to steal the properties.
    Alan Nalle then told Bryan Hardeman, “Why would a bidder agree to this on the courthouse steps and
act on a verbal agreement. This sounds like a conspiracy to defraud the landowner of what his part of the
deal.” Bryan Hardeman responded, “I have done this before. It works.”
     Alan Nalle stated he believed Bryan Hardeman told him what he was doing because they have a 50-
year relationship. Alan Nalle stated he believed Bryan also told him this because he expects Bryan’s next
call will be to Alan to ask if he wants to partner with him on these loan purchases he made. Alan Nalle
stated he would have no interest if such an offer is made. Alan Nalle stated on the call that Bryan
Hardeman’s scheme is a “clear conspiracy to defraud the landowners” and is “illegal”. Even more
alarming is that this a scheme he has completed before and gotten away with it.
     Mark Riley, one of Hardeman’s Houston lawyers, serves as General Counsel to the anonymous LLCs
that own the loans. He has been named as the “substitute trustee” to handle the auctions in the event of a
foreclosure auction and will be the party that is running the rigged bidding auctions.
    Alan Nalle stated Bryan Hardeman was “braggadocious” in explaining his concocted scheme to
defraud me and was bragging about having done this to other landowners before.
    Bryan Hardeman reiterated on this call to Alan Nalle that he owns $43 million in loans on properties I
own and that he is actively working to acquire another loan on a shopping center I own in San Antonio
and that he fully expects to close on that loan purchase.
    I informed Alan Nalle that the properties I own that have the $43 million in loans are valued at
approximately $200 million. Therefore, my equity in the properties is approximately $157 million.
    Bryan Hardeman’s complex fraudulent scheme is to steal this $150+ million in equity in these
properties because he and his lawyers have struck an illegal deal with the bankruptcy Judge to consolidate
loans in to a single bankruptcy and to appoint Gregory Milligan to be in charge prior to any of this ever
actually occurring in the judicial process. Hardeman’s plan is to then take ownership of the properties by
moving to “auction” the properties in the “rigged bidding” scheme with his lawyers which will give him
the opportunity to credit bid and take fee simple ownership of $200 million in properties for the $43
million loan balance which is approximately what he paid for the loans. Alan Nalle stated that Bryan
       Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 127 of 130



Hardeman’s intention is clearly to “take the difference between the value of the properties and the loans –
he is playing to take your equity”
    Bryan Hardeman clearly stated he purchased these loans with the intention of completing this
fraudulent scheme as he outlined. He has already taken actions in these separate legal disputes on the
respective properties which show that this plan is well underway. His intention with purchasing these
loans is to defraud the borrower by colluding with his lawyers, the Judge, the proposed receiver/trustee,
and potential bidders to take ownership of all of the properties and to deprive me of my legal and
constitutional rights.
     This fraudulent financial scheme has been orchestrated by Bryan and Will Hardeman on behalf of the
Hardeman Family Joint Venture. The lawyers that Hardeman claims have struck the illegal side deal with
Judge Davis, and that will be handling the illegal rigged bidding to steal the properties are: Christopher
Dodson, Steve Benesh, Jason Cohen, and Mark Riley. Hardeman’s partners in these LLC’s are Justin
Bayne and Mark Riley. The bankruptcy Judge that, according to Hardeman, has agreed to this scheme is
Judge Tony M. Davis. Gregory Milligan has conspired with the Hardeman group by agreeing to go along
with the scheme by serving as a proposed “neutral” receiver/trustee that will be appointed by Judge
Davis. Dilum Chandrasoma and Ray Chester are co-conspirators with the Hardeman group and provide
the link between the Hardemans and Milligan through their prior relationship with Milligan. According to
Bryan Hardeman statements, all of these parties are aware of his plan and are playing their respective
roles in this fraudulent scheme.
Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 128 of 130




                                                                     EX. 8
             Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 129 of 130

                         Automated Certificate of eService
This automated certificate of service was created by the efiling system.
The filer served this document via email generated by the efiling system
on the date and to the persons listed below. The rules governing
certificates of service have not changed. Filers must still provide a
certificate of service that complies with all applicable rules.

Marianne Ross on behalf of Thomas Nesbitt
Bar No. 24007738
mross@dnaustin.com
Envelope ID: 50518494
Status as of 2/11/2021 3:59 PM CST

Associated Case Party: JamesBlakeBrickman

Name                   BarNumber     Email                     TimestampSubmitted Status

Thomas ANesbitt                      tnesbitt@dnaustin.com 2/10/2021 8:49:24 AM       SENT

Marianne Ross                        mross@dnaustin.com        2/10/2021 8:49:24 AM   SENT

Thomas John Turner 24043967          tturner@cstrial.com       2/10/2021 8:49:24 AM   SENT

Kiara Dial                           kdial@cstrial.com         2/10/2021 8:49:24 AM   SENT



Associated Case Party: David Maxwell

Name                   BarNumber Email                              TimestampSubmitted     Status

Gregory Sapire         791601         greg@ssmlawyers.com           2/10/2021 8:49:24 AM   SENT

Carlos Ramon Soltero   791702         carlos@ssmlawyers.com         2/10/2021 8:49:24 AM   SENT

Matthew Murrell                       matthew@ssmlawyers.com        2/10/2021 8:49:24 AM   SENT



Case Contacts

Name              BarNumber Email                                   TimestampSubmitted     Status

William Helfand                 bill.helfand@lewisbrisbois.com      2/10/2021 8:49:24 AM   SENT

Dawn Garrard                    Dawn.Garrard@lewisbrisbois.com 2/10/2021 8:49:24 AM        SENT

LeGia Russell                   legia.russell@lewisbrisbois.com     2/10/2021 8:49:24 AM   SENT

Sean Braun                      Sean.Braun@lewisbrisbois.com        2/10/2021 8:49:24 AM   SENT



Associated Case Party: J.MarkPenley

Name              BarNumber   Email                        TimestampSubmitted Status

Don A. Tittle     20080200    don@dontittlelaw.com         2/10/2021 8:49:24 AM   SENT

Roger Topham      24100557    roger@dontittlelaw.com 2/10/2021 8:49:24 AM         SENT
         Case 1:21-cv-00954-LY Document 27-2 Filed 06/22/22 Page 130 of 130

                         Automated Certificate of eService
This automated certificate of service was created by the efiling system.
The filer served this document via email generated by the efiling system
on the date and to the persons listed below. The rules governing
certificates of service have not changed. Filers must still provide a
certificate of service that complies with all applicable rules.

Marianne Ross on behalf of Thomas Nesbitt
Bar No. 24007738
mross@dnaustin.com
Envelope ID: 50518494
Status as of 2/11/2021 3:59 PM CST

Associated Case Party: RyanM.Vassar

Name            BarNumber   Email               TimestampSubmitted Status

Joseph R. Knight 11601275   jknight@ebbklaw.com 2/10/2021 8:49:24 AM   SENT
